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                AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

    I, Lyndon A. Versoza, being duly sworn, hereby depose and state

    as follows:

          I.     TRAINING AND EXPERIENCE

          1.     I am a United States Postal Inspector employed by the

    United States Postal Inspection Service (“USPIS”), Los Angeles

    Division, in Los Angeles, California, where I have served since

    June 2005.    Currently, I am responsible for investigating

    criminal violations of money laundering and structuring laws,

    such as when United States Postal Service (“USPS”) Money Orders

    or the United States Mail are used as a means to launder or

    structure funds.      During my career as a Postal Inspector, I have

    participated in or investigated financial violations including

    money laundering, darknet investigations, digital currency

    investigations, structuring, bank, wire and mail fraud, and

    identity theft.     In addition, I have received both formal and

    informal training from USPIS and other agencies regarding money

    laundering and financial crimes.         For approximately five years

    prior to investigating money laundering, I was assigned to

    investigate child exploitation and sex trafficking.             In that

    assignment, I worked both independently and in a task force

    where I led and participated in investigations related to crimes

    involving the exploitation of children and sex trafficking.
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          2.    Prior to my service as a U.S. Postal Inspector, I

    attended the University of Southern California in Los Angeles,

    where, in 2001, I received a bachelor’s degree.            While in

    college, I was the website administrator for a non-profit media

    company in Los Angeles where, among other things, I learned

    about domain names, domain name servers, and remote hosting.

    Following college, from 2002 to 2005, I served as a law

    enforcement officer with the U.S. Immigration and Naturalization

    Service, which later became U.S. Customs and Border Protection.

    There, among other things, I worked on cases involving human

    smuggling and international sex trafficking.

          3.    I am familiar with the facts and circumstances

    described herein.      This affidavit is based upon my personal

    involvement in this investigation, my training and experience,

    and information obtained from various law enforcement personnel

    and witnesses, including information that has been reported to

    me either directly or indirectly.         This affidavit does not

    purport to set forth my complete knowledge or understanding of

    the facts related to this investigation.           Unless specifically

    indicated otherwise, all conversations and statements described

    in this affidavit are related in substance and part only.               All

    figures, times, and calculations set forth herein are

    approximate.



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          II.   SUMMARY AND PURPOSE OF AFFIDAVIT

          4.    This affidavit is made in support of applications for

    warrants to seize all funds held in certain SUBJECT ACCOUNTS and

    certain SUBJECT DOMAINS, all owned or controlled by

    “Backpage.com” (referred to herein as “Backpage”), associated

    entities, and the owners and operators of each.

            A. Background

          5.    This case is being investigated by the USPIS, the

    Federal Bureau of Investigation (“FBI”) and the Internal Revenue

    Service-Criminal Investigation (“IRS-CI”), with assistance from

    the Los Angeles Joint Regional Intelligence Center.

          6.    The focus of the investigation has been on violations

    by Backpage, its associated entities, and the owners and

    operators of each of Title 18, United States Code, Sections

    1952(a)(3)(A) and (b)(i)(1) (Interstate and Foreign Travel in

    Aid of Racketeering Enterprise); and Title 18 U.S.C. §§ 1956 and

    1957, (Money Laundering).

          7.    From speaking with other agents in this investigation,

    and reviewing emails, internal documents, and other records

    related to this investigation, I know the following:

                a.    Backpage.com, LLC, incorporated in Delaware in

    2004, is an internet-based company that allows customers to post

    on-line classified advertisements.          These advertisements include

    sections dedicated to a variety of matters, including adult,

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    automotive, community, dating, jobs, local places, musicians,

    rentals and services.       Backpage receives between 75 million to

    100 million unique internet visitors per month.

                b.    Backpage realizes profits in the tens of millions

    of dollars per year from adult advertisement.            Historically,

    adult ads, where Backpage advertisers post sex trafficking ads,

    constitute less than ten percent of all advertisements posted on

    the website.     However, the adult ads generate over 90 percent of

    Backpage’s revenue.      In short, Backpage derives almost all its

    revenue and profits from adult service ads, including

    advertising for sex trafficking. 1

                c.    In or about 2004, operators Michael Lacey

    (“Lacey”), James Larkin (“Larkin”), and Carl Ferrer (“Ferrer”)

    created Backpage.      There were also two minority owners; John

    Brunst (“Brunst”), who owned 5.67 percent; and Scott Spear



     1 According to Backpage accounting records, for the period May 1
    to May 31, 2014, over 90% of Backpage’s revenues derived from
    what they characterized as “adult entertainment.” Backpage’s
    internal documents suggest that this 90% figure has been
    consistent since its 2004 inception.
     For example, between October 6, 2014, and May 31, 2015,
    Backpage grossed almost $105 million from advertising “adult
    entertainment.” During this same period, Backpage grossed only
    $1.6 million from all other advertisements combined. Assuming
    that Backpage has accurately estimated that 90% of its revenues
    are generated from “adult” and “escort” ads, Backpage has
    generated as much as $500 million in prostitution-related
    revenue since 2004.



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    (“Spear”), who owned 4.09 percent.          From 2004 until 2015, Lacey

    and Larkin oversaw the website’s policies and strategic

    direction.    In 2015, Lacy and Larkin purportedly sold all or

    substantially all of their interests in Backpage to Ferrer. 2

    However Lacey and Larkin retained significant control over the

    website, and both Lacey and Larkin continue to receive tens of

    millions of dollars of annual distributions of Backpage revenue.

                 d.   While not an original owner, Ferrer was one of

    the original officers of Backpage, having initially served as

    Backpage’s vice-president, and later as CEO.            Ferrer is also the

    CEO of several Backpage related entities in the Netherlands,

    including “Website Technologies,” “Amstel River Holdings,” and

    “Ad Tech BV.”

                 e.   Michael Thomas Gage (“Gage”) has no formal

    position at Backpage, but is the President, Chief Executive

    Officer, Treasurer, and Secretary of another Backpage controlled

    entity, “Posting Solutions,” a wholly owned subsidiary of

    Backpage that receives payments from Backpage advertisers.

    According to his social media profile, Gage is also the Chief




     2 From my review of financial records related to Ferrer’s 2015
    agreement to purchase Backpage, it appears that, through a
    series of loans from other Backpage Operators to be repaid by
    Ferrer, Ferrer agreed to purchase Backpage for approximately
    $400 million.
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    Financial Officer of Website Technologies.           Based on emails he

    has sent and wire transfer information, Gage appears to control

    much of the international and domestic financial transactions of

    Backpage and its related entities.

                f.    Daniel Hyer (“Hyer”) at one time was the Sales

    and Marketing Director of Backpage.          He remains an account

    signatory for Backpage controlled entities, including Website

    Technologies.

          8.    Throughout this affidavit, the individuals identified

    in paragraphs 7(c) through (f), along with others not named in

    this affidavit, are collectively referred to as the “Backpage

    Operators.”

          9.    Based on a review of publicly available materials

    obtained in the course of the investigation, and my review of

    the Backpage website, I have learned the following:

                a.    The majority of the paid advertisements on the

    Backpage website relate to prostitution activities in violation

    of 18 U.S.C. §§ 1591 and 1252.

                b.    As further described below, Backpage itself, as

    well as its operators, who are in control of the SUBJECT

    ACCOUNTS and SUBJECT DOMAINS (as those terms are defined below),

    is in the business of promoting the trafficking of children and

    adults for sex.     Sex trafficking of adults is a violation of 18

    U.S.C. § 1952, and sex trafficking of children is a violation of

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    18 U.S.C. 1591, each of which statutes is a Specified Unlawful

    activity (“SUA”) within the meaning of federal law. (see 18

    U.S.C. § 1956(c)(7)(vii)).

                c.    The SUBJECT ACCOUNTS (all of which are located in

    the United States) have received wire transfers from places

    outside of the United States or have received funds traceable to

    wire transfers from places outside of the United States, which

    funds Backpage would then use to promote sex trafficking, in

    violation of 18 U.S.C. § 1956(a)(2)(A) (International Money

    Laundering).     Some of the SUBJECT ACCOUNTS have received

    transfers or deposits in excess of $10,000 traceable to the SUA,

    in violation of 18 U.S.C. § 1957 (Money Laundering Spending

    Statute).

                d.    The SUBJECT DOMAINS are registered by “ASCIO

    TECHNOLOGIES INC” DBA “NETNAMES,” a domain registrar that

    manages the reservation of internet domain names for Backpage.

    A domain registrar serves to ensure that a registered domain

    name, like each of the SUBJECT DOMAINS, is not double sold.

    Additionally, a domain registration will allow the owner of the

    domain to direct internet traffic to a company’s webserver.               The

    SUBJECT DOMAINS have been acquired and maintained with funds

    traceable to the money laundering scheme described herein,

    specifically with funds from SUBJECT ACCOUNT 1, and the SUBJECT

    DOMAINS are the mechanism Backpage uses to promote the

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    prostitution and sex trafficking activity described below.

          10.    From my review of publically available materials and

    bank statements obtained in the course of this investigation, I

    have learned the following:

                 a.   Verizon Digital Media Services in Los Angeles,

    California (“Verizon”) provides various media solutions for

    internet related activities, including web acceleration,

    commerce acceleration, cloud security and video

    streaming.    Based on my training and experience, I know that

    these type of services would be necessary for a high-volume

    website like Backpage to operate efficiently and handle internet

    traffic without delay for the end user.

                 b.   Beginning when the account was opened in February

    2017, and continuing until at least December 2017, SUBJECT

    ACCOUNT 1 has directed $570,530 dollars to Verizon to pay for

    Backpage related expenses.

            B. SUBJECT ACCOUNTS

          11.    This affidavit is offered in support of applications

    for warrants to seize all funds held in the following U.S. bank

    accounts (hereinafter referred to collectively as the “SUBJECT

    ACCOUNTS”):

                 a.   SUBJECT ACCOUNT 1: Prosperity Bank account number

    216887188, is a business bank account held in the name of

    “Posting Solutions LLC.”       Gage is identified in the records of

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    the account as the President, Chief Executive Officer,

    Treasurer, and Secretary of Posting Solutions LLC, and is the

    sole signatory on SUBJECT ACCOUNT 1.         As further described

    below, SUBJECT ACCOUNT 1 is one of Backpage’s main operating

    accounts, used to receive funds from customers paying for

    Backpage advertising, including advertising to promote sex

    trafficking.

                b.    SUBJECT ACCOUNT 2A: Compass Bank Account number

    6738453873 is a business bank account held in the name of

    “Cereus Properties LLC.”       Spear is the sole signatory on the

    account.

                c.    SUBJECT ACCOUNT 2B: Compass Bank Account number

    6745023825 is held in the name of Brunst.

                d.    SUBJECT ACCOUNT 3A: National Bank of Arizona

    Account number 45000178 is a checking account held in the name

    of Spear.

                e.    SUBJECT ACCOUNT 3B: National Bank of Arizona

    Account number 45000151 is a checking account held in the name

    of Spear.

                f.    SUBJECT ACCOUNT 3C: National Bank of Arizona

    Account number 46003645 is a checking account held in the name

    of Spear.

                g.    SUBJECT ACCOUNT 4: Live Oak Bank Account Number

    75600050642523 is a checking account held in the name of Spear.

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                h.    SUBJECT ACCOUNT 5A: Ascensus Broker Dealer

    Services Account Number 367726943-01 is an account held in the

    name of Natasha Spear, Spear’s adult daughter.

                i.    SUBJECT ACCOUNT 5B: Ascensus Broker Dealer

    Services account Number 549755280-01 is an account held in the

    name of Natasha Spear.

                j.    SUBJECT ACCOUNT 6: First Federal Savings & Loan

    of San Rafael account number 51103620 is an account held in the

    name of Lacey.

                k.    SUBJECT ACCOUNT 7A: Republic Bank of Arizona

    account number 11101889 is an account held in the name of

    Larkin.

                l.    SUBJECT ACCOUNT 7B: Republic Bank of Arizona

    account number 11402592 is an account held in the name of

    Larkin.

                m.    SUBJECT ACCOUNT 7C: Republic Bank of Arizona

    account number 11002912 is an account held in the name of

    Ferrer.

                n.    SUBJECT ACCOUNT 7D: Republic Bank of Arizona

    account number 11402500 is an account held in the name of

    Ferrer.

                o.    SUBJECT ACCOUNT 7E: Republic Bank of Arizona

    account number 11101938 is an account held in the name of

    Larkin.

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                p.    SUBJECT ACCOUNT 8A: Bank of America Account

    number 0000483072278225 is a checking account held in the name

    of Troy Larkin, James Larkin’s adult son.

                q.    SUBJECT ACCOUNT 8B: Bank of America Account

    number 0000005091387054 is an account held in the name of Ramon

    Larkin, James Larkin’s adult son.

                r.    SUBJECT ACCOUNT 8C: Bank of America Account

    number 0000001294879342 is a checking account held in the name

    of Hyer.

                s.    SUBJECT ACCOUNT 8D: Bank of America Account

    number 0000488039130071 is a savings account held in the name of

    Hyer.

                t.    SUBJECT ACCOUNT 9: San Francisco Fire Credit

    Union Account Number 75600050642523 is held in the name of

    Lacey.

                u.    SUBJECT ACCOUNT 10: Ally Bank Account Number

    2153056292 is an account held in the name of Spear.

                v.    SUBJECT ACCOUNT 11: Branch Banking and Trust Bank

    account number 1440001710218 is an account held in the name of

    Gage.

                w.    SUBJECT ACCOUNT 12A: Green Bank Account number

    3094832 is an account held in the name of Ferrer.

                x.    SUBJECT ACCOUNT 12B: Green Bank Account number

    5501194293 is an account held in the name of Ferrer.

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                y.    SUBJECT ACCOUNT 13: Plains Capital Bank account

    number 5501801098 is an Interest on Lawyers Trust Account

    (“IOLTA”) held in the name of Phillip Linder, identifying April

    Ferrer (who is or was Carl Ferrer’s spouse) as the sole

    beneficiary.

             C. SUBJECT DOMAINS

          12.   This affidavit also supports an application for a

    warrant to seize the following domain names managed by “Ascio

    Technologies,” incorporated in Delaware, the domain registrar

    for the SUBJECT DOMAINS, (hereinafter, collectively referred to

    as “SUBJECT DOMAINS”):

                a.    atlantabackpage.com

                b.    backpage.be

                c.    backpage.com

                d.    backpage.com.br

                e.    backpage.cz

                f.    backpage.dk

                g.    backpage.ee

                h.    backpage.es

                i.    backpage.fi

                j.    backpage.fr

                k.    backpage.gr

                l.    backpage.hu

                m.    backpage.ie

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                n.    backpage.it

                o.    backpage.lt

                p.    backpage.mx

                q.    backpage.net

                r.    backpage.no

                s.    backpage.pl

                t.    backpage.pt

                u.    backpage.ro

                v.    backpage.si

                w.    backpage.sk

                x.    backpage.us

                y.    backpage-insider.com

                z.    bestofbackpage.com

                aa.   bestofbigcity.com

                bb.   bigcity.com

                cc.   chicagobackpage.com

                dd.   denverbackpage.com

                ee.   newyorkbackpage.com

                ff.   phoenixbackpage.com

                gg.   sandiegobackpage.com

                hh.   seattlebackpage.com

                ii.   tampabackpage.com

          III. APPLICABLE LAW

          13.   There is probable cause to believe that the SUBJECT

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    ACCOUNTS and SUBJECT DOMAINS are subject to seizure and

    forfeiture by the United States under the following provisions:

                 a.   18 U.S.C. § 981(a)(1)(A), because those SUBJECT

    ACCOUNTS and SUBJECT DOMAINS are involved in, and traceable to,

    one or more transactions or attempted transactions in violation

    of 18 U.S.C. § 1956(h) (Conspiracy to Launder Money), 18 U.S.C.

    § 1956(a)(2) (International Money Laundering for Promotion), and

    18 U.S.C. § 1957 (Financial Transactions Involving Illicit

    Proceeds).    Pursuant to 18 U.S.C. § 981(a)(1)(A), any property

    involved in a transaction, or attempted transaction, in

    violation of 18 U.S.C. §§ 1956 or 1957, or any property

    traceable to such property, is subject to forfeiture to the

    United States; and

                 b.   18 U.S.C. § 981(a)(1)(C), because those SUBJECT

    ACCOUNTS and SUBJECT DOMAINS constitute and are derived from

    proceeds traceable to one or more violations of 18 U.S.C. §

    1956(h), 18 U.S.C. § 1956(a)(2), and 18 U.S.C. § 1957.

          14.    Title 18 U.S.C. § 1956 prohibits, among other things,

    financial transactions involving the proceeds of SUAs --

    committed or attempted (1) with the intent to promote further

    predicate offenses; (2) with the intent to evade taxation; (3)

    knowing the transaction is designed to conceal the source,

    location, ownership or control of the proceeds; or (4) knowing

    the transaction is designed to avoid anti-laundering financial

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    reporting requirements.       18 U.S.C. § 1956(h) prohibits two or

    more parties agreeing to accomplish the unlawful purpose of

    money laundering.

          15.   Title 18 U.S.C. § 1957 prohibits a party from

    knowingly engaging in a monetary transaction in excess of

    $10,000 with property that is criminally derived from some SUA.

          16.   Title 18 U.S.C. § 1956(a)(2) (International Money

    Laundering for Promotion) makes it a crime to transport,

    transmit, or transfer, or attempt to transport, transmit, or

    transfer, monetary instruments or funds (including funds that

    are not criminal proceeds) from the United States to or through

    a place outside the United States, or to the United States from

    or through a place outside the United States, with the intent to

    promote some SUA, as that term is defined in 18 U.S.C. §

    1956(c)(7).

          17.   The “Travel Act,” 18 U.S.C. § 1952(a), an SUA,

    prohibits, in part, the use of the mail or any facility in

    interstate or foreign commerce with the intent to otherwise

    promote, manage, establish, carry on, or facilitate the

    promotion, management, establishment, or carrying on of any

    unlawful activity, by any person who thereafter performs or

    attempts to perform an act to promote, manage, establish, carry

    on, or facilitate the promotion, management, establishment and

    carrying on of such unlawful activity.         “Unlawful Activity,” as

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    defined in 18 U.S.C. § 1952(b), includes prostitution offenses

    in violation of the laws of the state in which such acts are

    committed or in violation of the laws of the United States.

    Prostitution is illegal in the State of California.            (See, e.g.,

    Cal. Penal Code § 647(b).)

           18.   Sex trafficking of juveniles or any person by means of

    force, fraud or coercion, is a violation of 18 U.S.C. § 1591, an

    SUA.

       IV.       DIGITAL CURRENCY/BITCOIN

           19.   Digital currency (also known as crypto-currency) is

    generally defined as an electronic-sourced unit of value that

    can be used as a substitute for fiat currency (i.e., currency

    created and regulated by a sovereign government).            It exists

    entirely on the Internet and is not stored in any physical form.

    It is not issued by any government, bank, or company, but is

    instead generated and controlled through computer software

    operating on a decentralized peer-to-peer network.            Digital

    currency is not illegal in the United States and may be used for

    legitimate financial transactions.          However, it is often used to

    conduct illegal transactions, such as the sale of controlled

    substance, or as in this investigation, to purchase ads to

    promote prostitution.

           20.   Bitcoin is a type of digital currency accepted by

    Backpage.    Bitcoin payments are recorded on a public ledger that

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    is maintained by peer-to-peer verification, and is thus not

    maintained by a single administrator or entity.           Individuals can

    acquire Bitcoins either by “mining” them or purchasing Bitcoins

    from other individuals.       An individual can “mine” Bitcoins by

    allowing his/her computing power to verify and record the

    Bitcoin payments into a public ledger.         Individuals are rewarded

    for this by being given newly created Bitcoins.           Bitcoins can be

    bought and sold in fractions.

          21.    Backpage also accepts other digital currencies,

    including Litecoin, Bitcoin Cash, and Ether.           Sometimes called

    “alt-coins,” because they are alternatives to Bitcoins, these

    digital currencies were created after Bitcoin to address

    perceived weaknesses or problems with Bitcoin technology.             Based

    on my review of Backpage transactions, the majority of

    Backpage’s digital currency transactions are in Bitcoin.

          22.    An individual can send and receive Bitcoins through

    peer-to-peer digital transactions or by using a third-party

    broker.     Such transactions can be done on any type of computer,

    including laptop computers and smart phones.

          23.    Digital currency is generally stored in digital

    “wallets,” which essentially store the access codes that allows

    individuals to conduct digital currency transactions on the

    public ledger.     To access digital currency on the public ledger,

    an individual must use a public address (or “public key”) and a

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  Case                  *SEALED*
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    private address (or “private key”).         The public address can be

    analogized to a bank account number, while the private key is

    like a password used to access an online account.

          24.   Even though the public addresses of those engaging in

    Bitcoin transactions are recorded on the public ledger, the true

    identities of the individuals or entities behind the public

    addresses are not.      If, however, an individual or entity is

    linked to a public address, it would be possible to determine

    what transactions were conducted by that individual or entity.

    For these reasons, digital currency transactions are described

    as “pseudonymous,” meaning they are partially anonymous.

       V. STATEMENT OF PROBABLE CAUSE

             A. Buying a Backpage Ad

          25.   In February 2018, I visited Backpage.com and, posing

    as an advertising purchaser, engaged in the regular process of

    posting an ad in the Backpage “Dating” section, which is one of

    the places on Backpage.com where prostitution ads are commonly

    found.   Through this process, I learned the following:

                a.    A person looking to post an advertisement on

    Backpage (an “advertiser”) must first create an account.             Once

    an account is created, the advertiser clicks on a link called

    “Post an ad,” which will then toggle certain categories

    regarding where the ad should be posted (e.g., “Los Angeles,”

    “Riverside,” etc.) and under what category the ad should appear

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Case 2:18-mj-00724-DUTY
  Case                  *SEALED*
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    (e.g., “Dating,” “Adult,” etc.).        The advertiser also has the

    option to post pictures and videos.         In the adult sections,

    opting to post in more than one geographical area, or opting to

    post more frequently occurring ads will increase the

    advertisement price.      Currently, Backpage.com charges $5 per ad

    posted in the adult sections.        In some of the non-adult and non-

    dating sections I checked, there was no charge at all to post an

    ad.

                b.    Once an advertiser selects the desired options,

    he or she is required to enter a phone number, a link to a

    social media page (such as Facebook), and an email address.             The

    Backpage website claims to verify the advertiser’s phone number

    before he or she can continue on to actually purchasing an ad.

                c.    In order to pay for Backpage ads, an advertiser

    must first buy “credits.”       Backpage offers several ways for an

    advertiser to acquire credits:

                     i.     A Backpage advertiser may mail gift cards,

    checks, and money orders to “Posting Solutions” at a P.O. Box in

    Dallas, Texas (as further described below, this P.O. Box is

    associated with Posting Solutions and SUBJECT ACCOUNT 1). 3




     3 I have reviewed the cash purchase of USPS money orders
    subsequently directed to this P.O. Box. Between September 2014
    and June 2016, several millions of dollars in money orders were


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Case 2:18-mj-00724-DUTY
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                     ii.         Backpage directly accepts credit card

    payment through a third-party credit card payment processor.

                 iii.           Backpage also accepts several types of

    digital currency (specifically, Backpage accepts Bitcoin,

    Bitcoin Cash, Litecoin, and Ethereum).         If the advertiser

    selects this option, Backpage provides a digital currency wallet

    address where the advertiser can send the electronic transfer of

    the digital currency.

                     iv.        Backpage also accepts cash, but only through

    third party payment processors.         Based on information gathered

    during this investigation, I believe that once the third-party

    payment processor receives cash, it converts the cash into

    digital currency and then electronically transfers that digital

    currency to a Backpage digital currency wallet.

          26.   Digital Currency is processed through the subject

    accounts in the following way:

                a.         When Backpage receives digital currency, it will

    aggregate the digital currency and then transfer it to a third-




    purchased in what appears to have been structured transactions
    (i.e., transactions carried out in a manner intended to avoid
    certain reporting requirements that USPS maintains for money
    order purchases greater than $3000). Based on my review,
    hundreds of these money orders include email addresses with
    words consistent with prostitution, such as “sex” or “sexy.”


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    party exchanger like GoCoin. 4

                b.    In exchange for the digital currency, the exchanger

    transfers U.S. dollars from its foreign bank accounts into

    Backpage operating accounts, such as SUBJECT ACCOUNT 1.             The

    exchanger, if it so elects, may then sell its Bitcoin on various

    Bitcoin markets.

          27.   I reviewed records obtained from GoCoin.          From this

    review, I estimate that between 5 to 10 percent of the ads posted

    on Backpage.com are ads within the Central District of California

    (including Los Angeles and Orange Counties).           For example, between

    January 10 and February 3, 2016, approximately 500,000 ads were

    posted on Backpage.com and paid for with Bitcoin, for which

    Backpage received over $3,840,000 in revenue.           Of these

    approximately 500,000 ads, approximately 28,400 were posted only

    in LosAngeles.Backpage.com, Ventura.Backpage.com,

    SanLuisObispo.Backpage.com, OrangeCounty.Backpage.com, and

    SanGabrielValley.Backpage.com.        These specific ads generated

    approximately $184,479 in revenue.




     4 GoCoin is a digital currency exchanger that converts Bitcoin,
    Litecoin and another digital currency into fiat currency, like
    the U.S. Dollar or the Euro. GoCoin is owned by Manx
    Broadcasting Corporation, based in the Isle of Man. GoCoin has
    offices in Singapore and Santa Monica, California and appears to
    hold bank accounts in several countries outside the United
    States.
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Case 2:18-mj-00724-DUTY
  Case                  *SEALED*
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             B. Backpage Promotion of Prostitution and Sex Trafficking

          28.   I have reviewed several Backpage ads that were used to

    sell minors for sex and forcibly traffic adult women for sex.              I

    have also reviewed the criminal records of certain of the pimps

    and sex traffickers, most of whom were convicted after having used

    Backpage to advertise their victims.         From this review, I learned

    the following:

                a.     Between 2014 and 2015, a pimp sold S.F., a minor

    girl, for sex.      The pimp advertised S.F. on Backpage’s “Escort”

    section in the Los Angeles area of California and in Arizona.              The

    ad contained phrases such as “New In Town” and “Sexy Dark Asain

    Bombshell with a Nice & Tight {Booty}.”          The ad selling S.F. on

    Backpage included multiple pictures showing her legs, stomach,

    shoulders and buttocks.       Later, the pimp was arrested and

    convicted on state sex trafficking charges, and sentenced to 196

    years imprisonment.

                b.     Between 2014 and 2015, the same pimp sold A.C., a

    minor girl, for sex.      In November 2014, at the age of 17, A.C. was

    first sold for sex through a Backpage ad using phrases such as

    “NEW IN TOWN,” “sexy sweet,” and “sweet like honey but super hot

    like fire.”      The Backpage ad selling A.C. included pictures of her

    showing her legs, stomach, shoulder, and buttocks, and posed her

    in sexually provocative positions.

                c.     Between November 2015 and December 2015, in a

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    different incident, a pimp drove two women and four minor girls

    (T.S., S.L., K.O., and R.W.) from Columbus, Ohio to a hotel in St.

    Charles, Missouri.      The next day, the pimp told the girls to post

    ads on Backpage.com.      Some of the girls took calls and engaged in

    paid sex acts with Backpage customers who responded to the ads.

    The ads the girls posted included pictures of themsitting on the

    bed showing their buttocks.       Another image I saw was of a naked

    girl’s body pressed against a mirror.         Other pictures appeared

    more mundane, such as images of girls posing clothed in front of a

    mirror.    However, these ads used phrases like “I’m sweet as a

    treat maybe even sweeter” and “not a lot need to be said. my pic

    are 100% real.”     In 2017, this pimp was convicted on sex

    trafficking charges and a federal court sentenced him to 300

    months in prison.

                d.    In or around 2010, in Washington, J.S., a minor

    girl, was sold for sex through the use of Backpage ads.             J.S.’s

    pimp drafted the ads that were placed a Backpage that contained

    words and phrases such as, “W’E’L’L_W’O’R’T’H_I’T***^***150HR” and

    “IT WONT TAKE LONG AT ALL.”       The ads also included pictures of

    J.S. in provocative positions showing her breasts and buttocks.

    On March 29, 2011, the pimp who sold J.S. for sex was sentenced to

    over 26 years imprisonment on charges related to sex trafficking.

                e.    Between in or around 2011 and 2016, a female

    victim, D.O., who was between the ages of 14 and 19 during those

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Case 2:18-mj-00724-DUTY
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    years, was sold for sex through Backpage ads.           D.O.’s female pimp

    instructed D.O. that Backpage was the safest place to advertise

    because Backpage did not require age verification.            D.O.’s

    Backpage ads included words and phrases that were indicative of

    prostitution, such as “roses” (money) and “back door” (anal sex).

    Some of the customers who responded to D.O.’s Backpage ads forced

    D.O. to perform sexual acts at gunpoint, choked her to the point

    of having seizures, and gang-raped her. 5

          29.   I have reviewed documents and reports from multiple

    state and government agencies and authorities regarding Backpage’s

    promotion of sex trafficking and prostitution.           From these

    reports, and from my review of internal Backpage correspondence

    following Backpage management receiving these reports, I am aware


     5 Using these examples, I also reviewed financial transactions
    for some of these ads. Using email addresses and other
    identifiers associated with the Backpage ads, I reviewed GoCoin
    records for some of these transactions. From these records, I
    found bitcoin payments associated with the email addresses used
    to post the ads, which transactions were processed by GoCoin.
    For example, in the case involving victims S.F. and A.C.
    (described in paragraphs 28(a) and (b)) prosecuted in Arizona,
    the bitcoin payments for these ads were made in November and
    October 2015.   In the case involving T.S., S.L., K.O., and R.W.
    (described in paragraph 28(c)) prosecuted in Missouri, the
    bitcoin payments were made in October and November 2015. As
    described in paragraph 48 of this affidavit, between December
    2015 and June 2016, over 130 wires from Slovakia from GoCoin,
    totaling over $16.8 million was sent to a Website Technologies
    account at Branch Bank & Trust Company account number
    1440001712008. Between December 2015 and October 2016, 32 wires
    totaling $48 million were sent from the BBT Account to a Cereus
    Properties Account 9361116211 at Arizona Bank and Trust, which
    made its way into SUBJECT ACCOUNTS 3A, 3B, and 3C.
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    that all levels of Backpage management are aware of Backpage’s

    role in promoting criminal activity.         For example:

                a.    On September 21, 2010, a group of state attorneys

    general wrote a letter to Backpage observing that “ads for

    prostitution—including ads trafficking children—are rampant on the

    site,” and arguing that “[b]ecause Backpage cannot, or will not,

    adequately screen these ads, it should stop accepting them

    altogether.”     The state AGs acknowledged that this step would

    cause Backpage to, ”lose the considerable revenue generated by the

    adult services ads,” but stated that “no amount of money can

    justify the scourge of illegal prostitution, and the misery of the

    women and children who will continue to be victimized in the

    marketplace provided by backpage.”

                b.    Following this letter, on September 25, 2010,

    Ferrer wrote an email explaining that Backpage was unwilling to

    delete ads that included terms indicative of prostitution because

    doing so would “piss[] off a lot of users who will migrate

    elsewhere” and force Backpage to refund those customers’ fees.

                c.    In January 2017, the U.S. Senate Subcommittee on

    Permanent Investigations (“Subcommittee”) conducted a lengthy

    investigation into sex trafficking and Backpage.           I have reviewed

    the Subcommittee’s 50-page report entitled “Backpage.com’s Knowing

    Facilitation of Online Sex Trafficking.”          This report concluded,

    among other things, that virtually all of Backpage’s “adult” ads

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    are actually solicitations for illegal prostitution services and

    that “Backpage has maintained a practice of altering ads before

    publication by deleting words, phrases, and images indicative of

    criminality, including child sex trafficking . . . .            Those

    practices served to sanitize the content of innumerable

    advertisements for illegal transactions—even as Backpage

    represented to the public and the courts that it merely hosted

    content others had created.”        In response to the Subcommittee’s

    report, Backpage purported to shut down the “adult” section of its

    website.    However, based on my review of several thousands of

    Backpage ads, I believe that the prostitution ads simply migrated

    to other sections of the website, where they remain to this day.

                d.    On August 5, 2011, Backpage received a letter from

    the mayor of Seattle.      This letter warned, “Seattle Police have

    identified an alarming number of juvenile prostitutes advertised

    on Backpage.com since January 2010,” and explained that Backpage

    was dissimilar from other companies whose products and services

    are “occasionally or incidentally” utilized by criminals because

    “[y]our company is in the business of selling sex ads” and “your

    services are a direct vehicle for prostitution.”           The letter also

    recommended that Backpage require in-person age verification for

    all of the “escorts” depicted in its ads.          Based on knowledge

    gained through this investigation, I do not believe that Backpage

    has ever instituted an in-person age verification.

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          30.   I have reviewed internal documents, emails, and

    correspondence among Backpage employees and management.             From

    those emails I have learned that Backpage has instituted policies

    and procedures designed to maintain its promotion of sex

    trafficking and prostitution, but which “sanitize” some of the

    language Backpage customers use to advertise in order to make the

    advertising of sex trafficking less overt.          From my review of

    Backpage documents, I know that Backpage refers to this practice

    as “moderation.”     For example:

                a.    In April 2008, Ferrer wrote an email explaining

    that, although he was “under pressure to clean up phoenix’s adult

    content,” he was unwilling to delete prostitution ads because

    doing so “would put us in a very uncompetitive position with

    craig[slist]” 6 and result in “lost pageviews and revenue.”            Thus,

    Ferrer instructed Backpage’s technical staff to edit the wording

    of such ads by removing particular terms that were indicative of

    prostitution, and then allow the remainder of the ad to be

    featured on Backpage’s website.

                b.    On October 8, 2010, a Backpage manager sent an

    email threatening to fire any Backpage employee who acknowledged,

    in writing, that a customer was advertising prostitution:




     6 Craigslist is a competing internet based advertising company
    that features classified ads.
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    “Leaving notes on our site that imply that we’re aware of

    prostitution, or in any position to define it, is enough to lose

    your job over. . . .      This isn’t open for discussion. If you don’t

    agree with what I’m saying completely, you need to find another

    job.”

                c.    On October 16, 2010, the same Backpage manager

    again sent an email to a large group of Backpage employees that

    contained two attachments providing guidance on how to “moderate”

    ads.    The first was a PowerPoint presentation that displayed a

    series of 38 nude and partially-nude photographs, some of which

    depicted graphic sex acts.       Next to each picture was an

    instruction as to whether it should be approved or disapproved by

    a Backpage moderator.      These instructions included “Approve.          Nude

    rear shots are okay as long the model is not exposing her anus or

    genitalia.” and “Approve.       Rear shot okay.     Transparent wet

    panties okay.”     The second was an Excel spreadsheet identifying 50

    terms (all of which were indicative of prostitution) that should

    be “stripped” from ads before publication.          The Backpage manager

    concluded the email by stating, “[I]t’s the language in ads that’s

    really killing us with the Attorneys General.           Images are almost

    an afterthought to them.”

                d.    On October 16, 2010, the same Backpage manager sent

    a separate internal email explaining, “I’d like to still avoid

    Deleting ads when possible,” that “we’re still allowing phrases

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    with nuance,” and that “[i]n the case of lesser violations,

    editing should be sufficient.”

                e.    On October 25, 2010, Ferrer sent an email

    acknowledging that the “[i]llegal content removed” through

    Backpage’s moderation processes was “usually money for sex act.”

    This email also explained that, after the “sex act pics are

    removed,” the “ad text may stay.”

                f.    On October 27, 2010, a different Backpage manager

    sent an internal email stating that Backpage was “editing 70 to

    80%” of the ads it received from customers.

                g.    On June 7, 2011, Ferrer received an inquiry from a

    law enforcement official about a particular ad that included the

    term “amber alert.”      In response, Ferrer acknowledged this might

    be “some kind of bizarre new code word for an under aged person.”

    Ferrer then forwarded this exchange to a Backpage manager and

    instructed that the term “amber alert” be added to Backpage’s

    “strip out” list.     I believe that this email indicates that

    Backpage did not require all future ads involving this particular

    coded term for the prostitution of a child to be blocked from

    Backpage, but merely required that such ads be edited before

    publication.

                h.    On August 31, 2011, Backpage managers exchanged

    emails in which they discussed a list of 100 “solid sex for money

    terms.”    Later emails indicate that this list of terms would

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Case 2:18-mj-00724-DUTY
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    change but, in general, the list prohibited use of certain terms

    that Backpage management and employees too closely identified with

    the obvious promotion of sex trafficking and prostitution.

                i.    Based on knowledge gained during this investigation

    and my training and experience, I believe that this manager

    acknowledged that a large proportion of the ads originally

    submitted by Backpage’s customers contained text and pictures that

    were indicative of sex trafficking.         Nevertheless, Backpage would

    still publish those ads after editing them to appear less obvious

    in promoting illegal activity.        Using the words the Backpage

    manager used in the email described in paragraph 30(d) above, I

    believe that Backpage sex trafficking ads have adapted to

    Backpage’s moderation policy by using “phrases with nuance” when

    promoting sex trafficking.       Also, based on knowledge gained during

    this investigation, and my training and experience, I believe

    that, following the implementation of “moderation,” Backpage’s

    list of prohibited terms needed to change and evolve to adjust to

    the reality of Backpage advertisers’ use of new code words to

    promote prostitution.      That is, once a coded word or phrase not

    previously associated with sex-for-money would become too familiar

    and associated with certain sex trafficking activities in the

    Backpage community of advertisers, Backpage’s “moderation” policy

    would need to adapt by adding such words or phrases to the

    “blocked” list or risk being too obvious in its promotion.

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          31.   Based on my review of several thousand Backpage ads and

    internal Backpage documents and correspondence, I believe that

    Backpage’s policy of “moderation” only caused ads explicitly

    promoting sex trafficking to become more coded and implicit in the

    ads’ purpose.     I have reviewed several thousand Backpage ads

    posted in the various “adult” categories of Backpage (including

    “massage,” “dating,” “escort” and others).          From this review, I

    learned the following:

                a.    Well over half of the Backpage classified ads in

    these categories use terms and phrases that, in my training and

    experience, I believe to be consistent with sex trafficking and

    prostitution.     These terms and phrases include, “roses” (money,

    e.g., “150 roses/half hour”), “in-call” (where the customer goes

    to the prostitute’s location), “outcall” (where the prostitute

    goes to the customer’s location), “GFE” (girlfriend experience),

    and “PSE” (porn star experience).

                b.    Other Backpage ads use language that can be mostly

    free of coded language, but that include sexually provocative

    pictures.    In my training and experience, the sexually suggestive

    images included in these ads are typical of ads for prostitution.

    For example, one such ad posted in Backpage’s Los Angeles dating

    section depicted images of a woman on a bed with her buttocks

    presented in a sexual manner; another included a picture of a

    woman’s cleavage; others included pictures of women posing in

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    sexual positions wearing lingerie and pictures of a woman bending

    over revealing her naked buttocks.

                c.    Based on knowledge gained through this

    investigation, and my training and experience, I believe that

    Backpage’s policy of moderation has had its intended effect.

    Moderation has caused and allowed otherwise neutral or innocuous

    terms to be understood within the Backpage community as coded

    language for sex trafficking and prostitution.           Because of this

    evolving use of coded terms, a reader of such ads who is familiar

    with the particular vocabulary used in Backpage “adult” ads may

    readily identify coded terms and images indicating an ad for

    prostitution, while an uninitiated reader may not understand these

    terms at all, or at least not as being associated with sex-for-

    money.

          32.   Notwithstanding many Backpage advertisements’ use of

    seemingly innocuous language in promoting prostitution, based on

    my conversations with law enforcement officers around the country

    and from my review of law enforcement officers’ statements and

    reports regarding Backpage, I believe that the majority of

    Backpage ads that appear in the traditionally “adult” categories

    (such as “escort,” “massage,” or “body rubs”) are actually

    advertisements promoting sex trafficking or prostitution.             For

    example, in August 2015, the Detective-Sergeant in charge of the

    Seattle Police Department’s Vice/High Risk Victims Unit and Human

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    Trafficking Task Force made a sworn statement that provided, in

    pertinent part,

       Since 2014, the Seattle Police Department has made arrests
       that include hundreds of related charges, such as charges
       for patronizing a prostitute/sexual exploitation, hundreds
       of charges for prostitution, dozens of charges [of]
       Promoting Prostitution, up to 100 charges for Commercial
       Sexual Abuse against a Minor and have investigated dozens
       of rape reports involving victims who are prostitutes and
       one murder of a prostitute. As a result of hundreds of
       investigations, the Seattle Police Department Vice/High
       Risk Victims Unit has found that Backpage.com has become
       the primary web site in Seattle/Washington State for those
       looking to solicit a prostitute, post prostitution ads or
       traffic prostitutes and minors.

       Vice/High Risk Victims Unit Detectives also make use of
       this site to respond to ads posted under the ‘escorts’ and
       ‘body rubs’ categories posing as male customers and
       successfully arrest females and males who charge
       undercover operatives money in exchange for sex. To date,
       no Detective within the Seattle Police Department’s
       Vice/High Risk Victims Unit has ever found a legitimate
       ‘escort’, (person who charges simply for companionship
       with no offer of sex) or ‘masseuse’, (person offering
       legitimate and licensed massage therapy rather than sex)
       while responding to ads placed in these categories on
       Backpage.com.

       As stated previously, every time the Seattle Police
       Department Vice/High Risk Victims Unit has responded to an
       ad in the adult section of Backpage.com, we have found
       that the ad was a posting for illegal activity. The
       Seattle Police Department Vice/High Risk Victims Unit has
       not once found that the individual posting or responding
       to one of our decoy ads in the adult section of
       Backpage.com was in fact seeking any type of innocent,
       legal activity. In my professional experience, the adult
       section of Backpage.com not only contains ads for illegal
       activity, including prostitution, solicitation and
       trafficking, but it is a primary source for such ads and
       is well known for that purpose in the sex trafficking
       industry in the city of Seattle and State of Washington.

    Additionally, in August 2015, the Sergeant Detective who is

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    Commander of the Human Trafficking Unit (“HTU”) for the Boston,

    Massachusetts Police Department made a sworn statement that

    provided, in pertinent part,

       Since 2009, the [HTU] has made numerous arrests that
       include enticement of a minor into prostitution, sex
       trafficking of a minor, sex trafficking of an adult,
       forcible rape . . . and sex for a fee for soliciting a
       prostitute.

       As a result of investigations, the HTU has found that
       Backpage.com is the go-to Web site in Boston for those
       looking to solicit a prostitute, post prostitution ads,
       and recruit and traffic young women and minors. The
       detectives have been able to identify numerous would-be
       exploiters by setting up decoy ads and responding to ads
       on the site. The have arrested pimps, traffickers and
       buyers who facilitate prostitution and fuel the harmful
       and violent sex trade. Backpage.com is the number one
       site that detectives go to in order to look for underage
       girls who are on the run and are being commercially
       sexually exploited by pimps.

       Since 2010, the HTU has arrested over 100 buyers of sex of
       both adults and minors through Backpage.com ads
       exclusively in hotel stings.

       Since 2013, 12 individuals have been charged in federal
       court for sex trafficking of both minors and adults. In
       all these aforementioned cases, Backpage.com played a
       pivotal role in facilitating these crimes.

       Detectives of the HTU often get tips about illegal
       activity concerning ads posted on the escort, adult and
       massage sections of Backpage.com. In almost every case
       detectives have found that in fact there was illegal
       activity which resulted in fines, arrests, or further
       investigations of sex trafficking.

       Therefore, in my professional experience as a law
       enforcement officer for over thirty years, the adult
       section of Backpage.com not only contains ads for illegal
       activity, including prostitution, solicitation and
       trafficking, but it is also the primary source for such
       ads and well known for that purpose in the sex trafficking

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       industry in Boston, Massachusetts. Backpage.com’s adult
       section provides a vehicle and anonymity for its users who
       exploit and traffic young women and girls. . . . It is my
       humble opinion that the adult section of Backpage.com
       serves no legitimate service and nearly all the cases we
       find associated with it involve pimp controlled
       prostitution.

          33.   Almost all “adult”-type Backpage ads list phone numbers

    or emails for a potential customer to use to make contact with the

    advertiser.      I have compared a sample of phone numbers and emails

    found within Backpage ads with phone numbers and emails that

    frequently are included in the memo section of some of the checks

    that Backpage advertisers use to pay Backpage for those ads.              From

    my review, I have found that very often the same number and/or

    email appears in multiple Backpage ads as the contact information

    to make an appointment.       For example:

                a.     A $25 USPS Money Order purchased on June 15, 2017,

    in Duarte, California, made payable to “Posting Solutions PO BOX

    802426, Dallas, TX,” and thereafter deposited into SUBJECT ACCOUNT

    1, included writing on the money order listing a phone number and

    the words “Dulce Latina.”       From a search of Backpage ads, I found

    almost 800 advertisements listing the same phone number found on

    the $25 USPS Money Order.

                b.     A $20 USPS Money Order purchased in Sacramento,

    California, and later deposited into SUBJECT ACCOUNT 1, included

    writing listing a phone number and the words “love my lips.”              From

    a search of Backpage ads, I found almost 1300 advertisements

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    listing the same phone number found on the $20 USPS Money Order.

                c.    A $150 Wells Fargo Bank Money Order, purchased in

    Arizona, and made payable to “Posting Solutions,” included an

    email and the words, “red hot stuff”.         From an internet search of

    the email address listed on this $150 money order, I found

    advertisements on several female escort websites that directed

    customers to contact an Arizona phone number ending in 2397.              I

    then searched Backpage.com for this phone number and found

    approximately 760 ads that included this same phone number.             My

    review of these Backpage ads revealed images indicative of

    prostitution.     For example, one such ad posted on Backpage’s

    “massage” section included sexual images such as a woman lying on

    a bed wearing lingerie and a woman laying naked on her stomach.

    One of the ads describes, “Pampering provider | Body Rub Massage |

    Body Shampoo | Body Scrub | 4 hands | Walk ins or appointment.”

    From my training and experience, I know that legal massage

    advertisements do not typically depict sexual images.            This

    advertisement depicted sexual images and included terms like “4

    hands,” which I know to be coded language describing a massage

    given to a customer by two women.        Such advertisements are often

    indicative of prostitution.

          34.   Despite the fact that several thousand Backpage ads

    shared the exact same phone number or email address to contact the

    advertiser, these same ads included sexually suggestive images of

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    hundreds of different women.        Based on my training and experience,

    multiple different women do not share the same email address or

    phone number when posting ads for dating.          Rather, in my training

    and experience, such ads are consistent with ads posted by pimps

    or prostitution agencies that are using the same phone number or

    email to advertise several different women (or girls) to

    prospective prostitution clients.

          35.   On March 28, 2018, a grand jury returned a 93 count

    indictment charging certain Backpage Operators with criminal

    violations of 18 U.S.C. § 371 (Conspiracy), § 1952 (Travel Act—

    Facilitation of Prostitution), § 1956 (Money Laundering), § 1957

    (Financial Transactions Involving Illicit Proceeds), and including

    Forfeiture Allegations pursuant to 18 U.S.C. §§ 981 and 982

    (seeking criminal forfeiture of, among other assets, the SUBJECT

    ACCOUNTS and the SUBJECT DOMAIN NAMES).          A copy of that indictment

    is attached hereto (as Exhibit A) and incorporated herein as

    though fully set forth.

             C. THE SUBJECT ACCOUNTS

             1. SUBJECT ACCOUNT 1

                  i. Foreign Transfers Into SUBJECT ACCOUNT 1

          36.   While Backpage accepts payments for ads from third-

    parties, for the purpose of this affidavit, I will focus on

    advertising payments made via the Posting Solutions’ P.O. BOX

    using cash, money orders, or digital currency.

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          37.   From my review of Posting Solutions’ application for the

    USPS Dallas, Texas P.O. BOX, I learned that it was registered to

    “Website Technologies, LLC/Backpage.com.”          Also listed on the P.O.

    BOX Application were the names of several Backpage Operators,

    including Ferrer.

          38.   I have reviewed bank records for SUBJECT ACCOUNT 1.

    Based on my review, I know the following:

                a.    On February 15, 2017, Posting Solutions LLC,

    located at 13601 Preston Rd., Ste. 801E, Dallas, Texas 75240,

    opened Prosperity Bank account number 216887188 (SUBJECT ACCOUNT

    1, which lists Gage as the sole signatory on the account).

                b.    Gage is the President, Chief Executive Officer,

    Treasurer and Secretary of Posting Solutions LLC.

          39.   Based on my knowledge of this investigation, having

    spoken to law enforcement personnel, and my review of the

    financial records, when an advertiser purchases an ad for

    prostitution using digital currency, the payments to Backpage (and

    certain subsequent expenditures) then proceed in the following

    manner:

                a.    A “poster” of a prostitution ad on backpage.com

    would pick a payment method, for example, through Bitcoin payments

    as previously described above.

                b.    The poster would already have Bitcoin or Backpage

    would direct the poster to a third-party exchanger in order to buy

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    Bitcoin.

                c.    Backpage would then provide the poster with a

    wallet address to send the specific amount of Bitcoin.

                d.    The poster would receive credit to then post ads on

    Backpage.

                e.    In batches, generally valued in hundreds of

    thousands of dollars, Backpage would sell the Bitcoin to a third

    party exchanger, frequently “GoCoin,” in order to convert the

    Bitcoin into U.S. or foreign currency, which GoCoin generally

    holds in foreign bank accounts.

                f.    GoCoin would wire funds from these foreign accounts

    to either 1) Backpage controlled foreign accounts, or 2) Backpage

    controlled domestic operating accounts.

                g.    Backpage operators would hold these receiving

    accounts in the names of entities controlled by Backpage, such as

    Ad Tech BV, Posting Solutions (SUBJECT ACCOUNT 1 is held in the

    name of Posting Solutions), Website Technologies, or Cereus

    Properties (SUBJECT ACCOUNT 2A is held in the name of Cereus

    Properties).

                h.    These funds that originated from foreign

    transactions would be used to pay for services, like Verizon in

    Los Angeles, or would be transferred to Backpage Operators’

    accounts and accounts held in their family members’ names.

          40.   I have reviewed records of wire transfers from countries

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    outside the United States deposited into the SUBJECT ACCOUNT 1.

    Just for the period of August 1 through September 1, 2017, SUBJECT

    ACCOUNT 1 received over $2.7 million in wire transfers from

    outside the United States.       For example:

                a.    On or about August 16, 2017, a company called

    “Binary Trading SG PTE LTD” (“Binary Trading”) wired $535,500 from

    an account in Singapore into SUBJECT ACCOUNT 1.           Based on my

    review of records related to this transaction, Binary Trading is a

    name used by GoCoin. 7

                b.    On or about August 17, 2017, Binary Trading wired

    another $528,500 from a Singapore account into SUBJECT ACCOUNT 1.

                c.    On or about August 30, 2017, a company named

    “TRILIX PTE LTD,” listing the same Singapore address as Binary

    Trading and GoCoin, in four wires ranging from $385,450 to

    $492,250, sent approximately $1,717,750 from a Singapore account

    into SUBJECT ACCOUNT 1.       Memo lines from these wires list “GC” or

    “GC FOR INTERNET SERVICES.”       I understand “GC” to mean GoCoin.

                 ii. SUBJECT ACCOUNT 1 Payments for Backpage Operations

          41.   I have reviewed outgoing payments from SUBJECT ACCOUNT 1

    and found that substantial percentages of these payments are for

    the operation of Backpage.com.        For example, between July and




     7  Further, according to GoCoin’s website, GoCoin maintains
    offices at the Singapore address listed on the $535,500 wire
    from “Binary Trading.”
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    October, 2017, SUBJECT ACCOUNT 1 wired over $1.1 million to pay

    for the following:

                a.     Between July and October 2017, SUBJECT ACCOUNT 1

    wired $570,530 to Verizon Digital Media Services in Los Angeles.

                b.     On August 4, 2017, SUBJECT ACCOUNT 1 wired $4,137

    to “Netnames,” also known as ASCIO, to pay for the registration

    renewal of all the SUBJECT DOMAINS, including Backpage.com.

                c.     In August 2017, SUBJECT ACCOUNT 1 sent numerous

    automated clearinghouse payments to “Netchex Tax Prep Clients”

    totaling over $437,000.       From a review of their website, I learned

    Netchex is a human resources company that provides payroll and

    other such services to Backpage.

                d.     Within a one-week period beginning on August 2,

    2017, SUBJECT ACCOUNT 1 wired approximately $77,800 to S&W Payroll

    Services.     An online search of S&W Payroll indicated that S&W

    Payroll is owned by Netchex.        As stated above, Netchex is a human

    resource service, and S&W Payroll appears to be Netchex’s payroll

    division.

                e.     On August 11, 2017, SUBJECT ACCOUNT 1 wired

    $5,319.79 to the Telesign Corporation, located in Marina del Ray,

    California.      According to their website, Telesign is a

    communications platform that delivers security for websites.

                f.     On August 18, 2017, SUBJECT ACCOUNT 1 wired $1,497

    and $6,984, respectively, to two separate data backup companies

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    for Backpage’s on-line data backup.

          42.    Based on my review of bank records for SUBJECT ACCOUNT 1

    throughout the existence of the account, these types of

    transactions and expenditures were typical.

               2. SUBJECT ACCOUNT 2A

                   i. Transfers From SUBJECT ACCOUNT 1

          43.    From my review of bank documents, I have learned that

    SUBJECT ACCOUNT 2A is a Compass Bank business bank account owned

    by “Cereus Properties LLC,” identifying Spear as the sole

    signatory.     My review revealed that this account was funded with

    transfers from SUBJECT ACCOUNT 1.        On average, during each month

    of 2017, SUBJECT ACCOUNT 1 transferred several hundred thousand

    dollars into SUBJECT ACCOUNT 2A.        For example:

          a.     On July 25, 2017, SUBJECT ACCOUNT 1 sent two wire

    transfers totaling about $566,562.47 to SUBJECT ACCOUNT 2A.

          b.     On August 8, 2017, SUBJECT ACCOUNT 1 sent a wire

    totaling $62,198.51 to SUBJECT ACCOUNT 2A.

          c.     On August 31, 2017, SUBJECT ACCOUNT 1 sent a wire

    transfer totaling $487,491.45 to SUBJECT ACCOUNT 2A.

          d.     On September 15, 2017, SUBJECT ACCOUNT 1 sent a wire

    transfer totaling $91,672.67 to SUBJECT ACCOUNT 2A.

          e.     On October 2, 2017, SUBJECT ACCOUNT 1 sent a wire

    transfer totaling $471,766 to SUBJECT ACCOUNT 2A.

                  ii.   Foreign Transfers into SUBJECT ACCOUNT 2A

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          44.   I have reviewed financial records from a foreign bank

    in the Netherlands (the “Foreign Account”).          I have also

    reviewed emails related to this account.          From my review of

    these records, I learned the following:

                a.    The Foreign Account was opened in March 2015 and

    is held in the name of Ad Tech BV, a Netherlands based company,

    and identifies Ferrer as the CEO and Gage as the CFO.

                b.    From March 2015 through November 2017, Foreign

    Account A received millions of dollars from Binary Trading SG

    PTE, Limited, the same company GoCoin used to wire funds into

    SUBJECT ACCOUNT 1.      In an April 4, 2017, email to employees of

    the bank that maintains the Foreign Account, Gage explained,

       Binary Capital is our trading partner, they hold money in
       trust for Go Coin [sic]. Rather than incurring 3 sets of
       wire fees which make our transactions unprofitable, they
       act as our agent and disburse payments directly from our
       trust account to our merchant.

                c.    During this same period, Foreign Account A wire

    transferred several million dollars into SUBJECT ACCOUNT 2A.

    For example, an April 25, 2017, an email from Gage to

    individuals at the bank holding the Foreign Account directed the

    bank to wire “USD $2,337,048” to SUBJECT ACCOUNT 2A.

    Thereafter, I reviewed a wire record and confirmed that on April

    25, 2017, the Foreign Account wired $2,337,048 into SUBJECT

    ACCOUNT 2A, as Gage directed in his email.          In reviewing the

    records, I found the following additional wires sent to SUBJECT

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    ACCOUNT 2A:

                    i.      In December 2016, the Foreign Account wired

    approximately $1 million dollars to SUBJECT ACCOUNT 2A.

                   ii.      On February 28, 2017, the Foreign Account

    wired $2,324,390 into SUBJECT ACCOUNT 2A.

                  iii.      On March 30, 2017, the Foreign Account A

    wired $2,247,858 into SUBJECT ACCOUNT 2A.

                   iv.      On May 31, 2017, the Foreign Account wired

    $2,335,076 to SUBJECT ACCOUNT 2A.

                    v.      On June 28, 2017, the Foreign Account A

    wired $2,324,390 to SUBJECT ACCOUNT 2A.

                   vi.      July 27, 2017, the Foreign Account A wired

    $10,928 to SUBJECT ACCOUNT 2A.

            iii.         SUBJECT ACCOUNT 2A Payments for Backpage Operations

          45.   I then reviewed SUBJECT ACCOUNT 2A records for

    payments to promote Backpage operations.          From March through

    December 2017, SUBJECT ACCOUNT 2A paid over $9,000 to “Cox

    Communications,” an internet services company that provides

    voice-over-internet phone and cable services.           I believe that

    Backpage uses Cox Communications to facilitate its internet

    presence and promote its sale of prostitution advertising.

             3. SUBJECT ACCOUNT 2B

          46.   I reviewed records SUBJECT ACCOUNT 2A and SUBJECT

    ACCOUNT 2B.    On February 2, 2018, SUBJECT ACCOUNT 2A wired

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    transferred $135,956.59 into SUBJECT ACCOUNT 2B.           I am aware of

    no other funding sources for SUBJECT ACCOUNT 2B.

              4. SUBJECT ACCOUNTS 3A, 3B, 3C

          47.    I have reviewed records for SUBJECT ACCOUNT 3A as well

    as the following accounts:       Branch Banking & Trust account

    number 1440001712008, belonging to Website Technologies (as

    detailed above, a Backpage controlled entity), held in Arizona

    (“BBT Account”); Arizona Bank & Trust account number 9361116211

    belonging to Cereus Properties, held in Arizona (“AZBT

    Account”).    From this review, I learned the following:

                 a.   Between December 14, 2015, and January 15, 2016,

    in approximately 26 wires, a GoCoin account in Slovakia

    transferred over $2.5 million to the BBT Account in the United

    States.

                 b.   On January 15, 2016, the BBT account wired

    $189,571 to Verizon in Los Angeles, California, in payment for

    Backpage internet services.

                 c.   Between January 21, 2016, and August 31, 2016, in

    approximately 27 wires, the BBT Account transferred

    approximately $48 million to the AZBT Account.

                 d.   Between March 1, 2016, and July 1, 2016, the AZBT

    Account wired $892,426 into SUBJECT ACCOUNT 3A.

          48.    According to records for SUBJECT ACCOUNTS 3A, 3B, and

    3C:

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                a.    On September 14, 2017, SUBJECT ACCOUNT 2A wired

    $50,162.05 into SUBJECT ACCOUNT 3A.

                b.    On October 12, 2017, SUBJECT ACCOUNT 3A wired

    approximately $21,500 into SUBJECT ACCOUNT 3B.

                c.    On January 5, 2018, SUBJECT ACCOUNT 3A wired

    approximately $600,000 into SUBJECT ACCOUNT 3C.




             5. SUBJECT ACCOUNT 4

          49.   From my review of the records for SUBJECT ACCOUNT 4

    (belonging to Spear), I learned that on or about March 16, 2016,

    SUBJECT ACCOUNT 3A transferred $250,000 into SUBJECT ACCOUNT 4

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    as an opening deposit.      On March 20, 2018, Live Oak Bank

    confirmed that these funds have remained in SUBJECT ACCOUNT 4

    since the account was opened.

             6. SUBJECT ACCOUNT 5A and 5B

          50.    I have reviewed financial records related to SUBJECT

    ACCOUNTS 5A and 5B, held in the name of Natasha Spear, Scott

    Spear’s adult daughter.       From this review, I learned the

    following:

                 a.   On February 23, 2017, SUBJECT ACCOUNT 3A wired

    approximately $50,000 into SUBJECT ACCOUNT 5A.

                 b.   On the February 23, 2017, SUBJECT ACCOUNT 3A

    wired $50,000 into SUBJECT ACCOUNT 5B.

             7. SUBJECT ACCOUNT 6

          51.    From my review of financial records related to SUJBECT

    ACCOUNTS 2A, 2B and 6, I learned the following:

                 a.   On October 2, 2017, SUBJECT ACCOUNT 2A wired

    approximately $297,795 into SUBJECT ACCOUNT 6.




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               8. SUBJECT ACCOUNTS 7A through 7E

          52.    From my review of financial records of SUBJECT

    ACCOUNTS 2A and 2B, 7A through 7D, and 12A, I learned the

    following:

                 a.   On July 6, 2017, SUBJECT ACCOUNT 2A wired

    $971,651.51 into SUBJECT ACCOUNT 7A.

                 b.   On July 28, 2017, SUBJECT ACCOUNT 7A wired

    $400,000 into SUBJECT ACCOUNT 7B.

          53.    From my review of financial records of SUBJECT

    ACCOUNTS 1 and 7C, and those concerning the Veritex Bank account

    ending in -1462, held in the name of Posting Solutions (“Account

    -1462”), 8 I learned the following:

          a.     On January 13, 2017 and January 20, 2017, a GoCoin

    account in Singapore wired a total of approximately $1,318,800

    into Account -1462.

          b.     In February 2017, Account -1462 wired a total of

    $5,395 to Verizon, in Los Angeles.

          c.     On August 8, 2017, SUBJECT ACCOUNT 1 wired $62,000

    into SUBJECT ACCOUNT 12A.




    8 Veritex Bank is a U.S. bank located in Dallas, Texas. Posting
    Solutions opened Veritex Bank account -1462 on or about January
    5, 2017.
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          d.     On November 3, 2017, SUBJECT ACCOUNT 12A wired

    $100,000 to SUBJECT ACCOUNT 7D.

               9. SUBJECT ACCOUNTS 8A, 8B, 8C, and 8D

          54.    From my review of the records for SUBJECT ACCOUNTS 2A

    and 2B, 8A, and 8B, I learned the following:

                 a.   On February 2, 2018, SUBJECT ACCOUNT 2A wired

    $28,337 into SUBJECT ACCOUNT 8A.

                 b.   Also on February 2, 2018, SUBJECT ACCOUNT 2A

    wired $28,337 into SUBJECT ACCOUNT 8B.

          55.    From my review of SUBJECT ACCOUNTS 1, 8C, and 8D, I

    learned the following:

                 a.   On August 2 and August 8, 2017, SUBJECT ACCOUNT 1

    wired $33,700 and $44,000, respectively, to S&W Payroll, a

    company Backpage uses to pay its employees.

                 b.   Between August 11, 2017, and December 1, 2017,

    S&W Payroll wired a total of $207,125.81 into SUBJECT ACCOUNT

    8C.

                 c.   Between November 3, 2017, and December 8, 2017,

    SUBJECT ACCOUNT 8C wired $57,500 into SUBJECT ACCOUNT 8D.

               10.    SUBJECT ACCOUNT 9

          56.    From my review of the records for SUBJECT ACCOUNTS 2A

    2B, and 9, I learned that on February 2, 2018, SUBJECT ACCOUNT

    2A wired $734,603.70 into SUBJECT ACCOUNT 9.



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             11.      SUBJECT ACCOUNT 10

          57.   From my review of records for SUBJECT ACCOUNTS 2A and

    10, I learned that on February 2, 2018, SUBJECT ACCOUNT 2A wired

    $94,154.89 into SUBJECT ACCOUNT 10.

             12.      SUBJECT ACCOUNT 11

          58.   From my review of SUBJECT ACCOUNTS 1, 8C, 8D, and 11,

    as well as Account -1462 (as described above, a Posting

    Solutions’ Veritex Bank account), I learned the following:

                a.    On January 4, 2017, GoCoin’s Singapore account

    wired $489,500 into Account -1462, and on January 20, 2017,

    GoCoin’s Singapore account directed two additional wires, for

    $358,150 and $470,150, respectively, into Account -1462 (for a

    total of $1,317,800 wired from GoCoin’s Singapore account into

    Account -1462).

                b.    On January 24, 2017, Account -1462 wired

    approximately $1.3 million into S&W Payroll.

          59.   On January 27, 2017, an S&W Payroll account wired a

    total of $9,913.53 into SUBJECT ACCOUNT 11.

             13.      SUBJECT ACCOUNTS 12A and 12B

          60.   From my review of financial records for SUBJECT

    ACCOUNTS 1, 12A, and 12B, I learned the following:

                a.    On August 8, 2017, SUBJECT ACCOUNT 1 wired

    $62,000 into SUBJECT ACCOUNT 12A.



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          61.   On December 8, 2017, SUBJECT ACCOUNT 12A wired $20,000

    into SUBJECT ACCOUNT 12B.

             14.       SUBJECT ACCOUNT 13

          62.   From my review of financial records for SUBJECT

    ACCOUNTS 1, 12A, and 13, I learned the following:

                a.     In January 2017, SUBJECT ACCOUNT 1 wired $62,000

    into SUBJECT ACCOUNT 12A.

                b.     On August 16, 2017, SUBJECT ACCOUNT 12A wired

    $20,000 into SUBJECT ACCOUNT 13.

             15.       SUBJECT DOMAINS

          63.   From my review of records from Ascio Technologies

    (“ASCIO”), the domain registrar for the SUBJECT DOMAINS, I

    learned the following:

                a.     ASCIO is a domain registrar that manages the

    reservation of internet domain names for Backpage, and ASCIO is

    the registrar for over 300 domain names registered by Ferrer and

    Backpage.com, LLC.

                b.     On or about August 4, 2017, SUBJECT ACCOUNT 1

    wired $4,147 to ASCIO/WMB Inc. as payment for the renewal of the

    SUBJECT DOMAINS.      From my training and experience and review of

    online sources, I know that, in general, to reach a website on

    the Internet, a person types an address into a web browser or

    computer.      That address is usually in the form of a name or a

    number and has to be unique so computers can locate the

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    website.    The Internet Corporation for Assigned Names and

    Numbers or “ICANN,” coordinates these unique identifiers across

    the world with registrars.       Domain renewal fees are paid

    annually and are in part used to maintain this service.             This

    allows visitors to be pointed to Backpage controlled servers

    when they point their web browser to addresses such as

    www.backpage.com.

                c.    In order to maintain an on-line presence,

    companies like Backpage must renew their domains yearly,

    generally for a fee.      Without this payment, the domain could be

    resold to others and Backpage customers would not be able to

    find the Backpage servers when the customer types the domain

    name in their web browser.

          64.   Of the over 300 domain names registered by

    Backpage.com LLC and/or Ferrer, all of which I reviewed, I

    believe the 35 SUBJECT DOMAINS are specifically used to promote

    and advertise prostitution for the following reasons:

                a.    I visited each of the SUBJECT DOMAINS and found

    that, with the exception of “Backpage-insider.com”, the SUBJECT

    DOMAINS that begin with the word “Backpage” automatically

    redirected my internet browser to Backpage.com.           These

    particular SUBJECT DOMAINS act and appear exactly as

    Backpage.com.



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                b.    I visited Backpage.com and navigated to the Los

    Angeles/Dating/Women for Men section.         I clicked on the first ad

    listed (Post ID 142685832).       This ad contained approximately one

    dozen pictures of women posing sexually, many on a bed wearing

    lingerie.    Super-imposed over a few of the images was the text:

    “JENNY HERE TODAY – FBSM – BETTER THAN NURU.”           An open source

    search for “FBSM” indicated that FBSM is code language for “Full

    Body Massage.”     An open source search for “NURU” produced the

    following description:

       NURU is a Japanese erotic massage technique in which one
       or more masseuses would rub their body against the
       client’s body after both parties are nude.

                c.    Based on this review, I believe this to be an

    advertisement in promotion of prostitution.          From my further

    review, I observed thousands of other ads that posted similar

    content consistent with advertising prostitution.

          65.   I also attempted to visit Backpage-Insider.com,

    bestofbackpage.com, bestofbigcity.com, but these domains did not

    have a landing page and were unavailable.

          66.   On March 22, 2018, I visited bigcity.com and, similar

    to Backpage.com, I found sexual content and additional

    advertisements promoting prostitution.         On the initial landing

    page for bigcity.com, there was a disclaimer noting that the

    website included sexual content.



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      6
                                IN THE UNITED STATES DISTRICT COURT
      7
                                     FOR THE DISTRICT OF ARIZONA
      8
      9   United States of America,
    10                           Plaintiff,                       INDICTMENT
    11               v.                               VIO:    18 U.S.C. § 371
                                                              (Conspiracy)
    12                                                        Count 1
          1. Michael Lacey
    13    Counts 1-70, 81, 83-84, 86, 88-92                   18 U.S.C. § 1952(a)(3)(A)
                                                              (Travel Act—Facilitate Prostitution)
    14    2. James Larkin                                     Counts 2-51
          Counts 1-68, 80, 87
    15                                                        18 U.S.C. § 1956(h)
           3. Scott Spear                                     (Conspiracy to Commit Money
    16     Counts 1-68, 71-78, 85, 93                         Laundering)
                                                              Count 52
    17     4. John “Jed” Brunst
           Counts 52-70, 78-84, 86-93                         18 U.S.C. § 1956(a)(1)(B)(i)
    18                                                        (Concealment Money Laundering)
           5. Dan Hyer                                        Counts 53-62
    19     Counts 1-68
                                                              18 U.S.C. § 1956(a)(2)(A)
    20     6. Andrew Padilla                                  (International Promotional Money
           Counts 1-51                                        Laundering)
    21                                                        Counts 63-68
           7. Joye Vaught
    22     Counts 1-51                                        18 U.S.C. § 1957(a)
                                                              (Transactional Money Laundering)
    23                           Defendants.                  Counts 69-93
    24                                                        18 U.S.C. §§ 981, 982
                                                              21 U.S.C. § 853, 28 U.S.C. § 2461
    25                                                        (Forfeiture Allegations)
    26
          THE GRAND JURY CHARGES:
    27
          A.    Introduction
    28
                1.        The website www.backpage.com (“Backpage”) is notorious for being the



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      1   internet’s leading source of prostitution advertisements.          Backpage derives the
      2   overwhelming majority of its revenue from such ads. These practices have enabled
      3   Backpage to earn over $500 million in prostitution-related revenue since its inception.
      4          2.     Backpage was created in 2004 by defendant MICHAEL LACEY
      5   (“LACEY”), defendant JAMES LARKIN (“LARKIN”), and a third individual, C.F. From
      6   2004-15, LACEY and LARKIN oversaw the website’s policies and strategic direction.
      7   Additionally, LACEY and LARKIN have retained significant control over the website (and
      8   have continued receiving tens of millions of dollars of Backpage-related distributions)
      9   since purportedly selling their interests in Backpage in 2015.
    10           3.     Defendant SCOTT SPEAR served as the Executive Vice President of one of
    11    Backpage’s parent companies and held, at times, an ownership interest in Backpage of
    12    approximately 4%.
    13           4.     Defendant JOHN “JED” BRUNST (“BRUNST”) served as the Chief
    14    Financial Officer of Backpage and several of Backpage’s parent companies and held, at
    15    times, an ownership interest in Backpage of approximately 6%.
    16           5.     Defendant DAN HYER (“HYER”) joined Backpage’s marketing department
    17    in or around 2006 and served as Backpage’s Sales and Marketing Director.
    18           6.     Defendant ANDREW PADILLA (“PADILLA”) served as Backpage’s
    19    Operations Manager.
    20           7.     Defendant JOYE VAUGHT (“VAUGHT”) served as Backpage’s assistant
    21    Operations Manager.
    22           8.     The defendants identified above are referred to at times in this indictment as
    23    the “BACKPAGE DEFENDANTS.”
    24           9.     As explained in detail below, the BACKPAGE DEFENDANTS have utilized
    25    a variety of strategies to make it appear that the prostitution ads appearing on Backpage
    26    are actually ads for “escort” services, “adult” companionship, dating, or other lawful
    27    activities. For example, Backpage purports to bar customers from offering illegal services
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      1   and has periodically used computerized filters and human “moderators” to edit the wording
      2   of (or block) ads that explicitly offer sexual services in return for money.
      3          10.    These strategies are a fiction designed to conceal the true nature of
      4   Backpage’s ads and customers.           Indeed, the BACKPAGE DEFENDANTS have
      5   admitted—in internal company documents and during private meetings—that they know
      6   the overwhelming majority of the website’s ads involve prostitution. In one internal
      7   document, LACEY actually bragged about the company’s contributions to the prostitution
      8   industry: “Backpage is part of the solution. Eliminating adult advertising will in no way
      9   eliminate or even reduce the incidence of prostitution in this country. . . . For the very first
    10    time, the oldest profession in the world has transparency, record keeping and safeguards.”
    11           11.    Notwithstanding       these     private    admissions,      the    BACKPAGE
    12    DEFENDANTS have taken pains to mislead the public, regulators, and law enforcement
    13    officials concerning the supposed sincerity of Backpage’s efforts to prevent the publication
    14    of prostitution-related ads. For example, after reviewing LACEY’s written description of
    15    Backpage’s contributions to the prostitution industry and editing practices, LARKIN
    16    instructed C.F. to prevent “any of the information in this being made public.” PADILLA,
    17    who helped supervise Backpage’s moderators, threatened to fire any employee who
    18    acknowledged in writing that the “escorts” depicted in the website’s ads were actually
    19    prostitutes: “Leaving notes . . . implying that we’re aware of prostitution . . . is enough to
    20    lose your job over.” And in one internal document, Backpage’s media strategy was
    21    described simply as “Do not acknowledge the prostitution.”
    22           12.    Many of the ads published on Backpage depicted children who were victims
    23    of sex trafficking. Once again, although Backpage has sought to create the perception that
    24    it diligently attempts to prevent the publication of such ads, the reality is that Backpage has
    25    allowed such ads to be published while declining—for financial reasons—to take necessary
    26    steps to address the problem. For example, for several years, Backpage’s official policy,
    27    when presented with an ad featuring the prostitution of a child, was to delete the particular
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      1   words in the ad denoting the child’s age and then publish a revised version of the ad. Such
      2   editing, of course, did nothing to change the fact the ad featured the prostitution of a child—
      3   it only created a veneer of deniability and helped Backpage’s customers (i.e., pimps
      4   trafficking children) evade detection.
      5          13.    Backpage has also contributed to the proliferation of ads featuring the
      6   prostitution of children in other ways. For example, an anti-sex trafficking organization
      7   once suggested that Backpage provide an automatic warning message whenever a customer
      8   searched for particular terms indicative of the prostitution of a child. In response, C.F.
      9   acknowledged the proposal was a good one but declined to adopt it because Backpage
    10    would not derive any public-relations benefit from doing so: “This is a good idea but it is
    11    not visible to AGs [state attorneys general] so it has little PR value. It is a low priority.”
    12    Backpage has also claimed it does everything in its power to alert the National Center for
    13    Missing and Exploited Children (“NCMEC”) whenever it becomes aware that a child is
    14    being advertised on its website. However, the BACKPAGE DEFENDANTS implemented
    15    policies to artificially limit such referrals. In one email, PADILLA instructed VAUGHT
    16    that “if we don’t want to blow past 500 [referrals to NMCEC] this month, we shouldn’t be
    17    doing more than 16 per day.” In another training document, moderators were instructed
    18    not to send emergency alerts to NCMEC in response to complaints filed by the
    19    grandparents and other extended family members of children being advertised on the
    20    website: “Neice [sic], nephew, grandchild, cousin, etc. doesn’t count.”
    21           14.    Virtually every dollar flowing into Backpage’s coffers represents the
    22    proceeds of illegal activity. In fact, by 2015, the major credit card companies stopped
    23    processing payments for Backpage and some banks closed Backpage’s accounts out of
    24    concern they were being used for illegal purposes.           In response, the BACKPAGE
    25    DEFENDANTS have pursued an array of money laundering strategies. These strategies
    26    have included (a) instructing customers to send checks and money orders to particular Post
    27    Office box, depositing those payments in bank accounts held in the name of entities with
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      1   no apparent connection to Backpage, and then giving customers a corresponding “credit”
      2   on Backpage to purchase new ads, (b) wiring the proceeds of Backpage’s business to bank
      3   accounts held in foreign countries and then redistributing the funds to certain BACKPAGE
      4   DEFENDANTS (as compensation) or redepositing the funds in bank accounts held in the
      5   United States (to conceal the nature of those funds and promote Backpage’s ongoing
      6   operations), and (c) converting customer payments, and the proceeds of Backpage’s
      7   business, into and out of cryptocurrency.
      8          15.    The BACKPAGE DEFENDANTS have also engaged in other financial
      9   transactions designed to conceal their misconduct and evade seizure by law enforcement.
    10    For example, in November 2016, LACEY asked employees of an Arizona-based bank for
    11    advice on how to move his assets “offshore” to protect them from seizure by the
    12    government. Soon afterward, $16.5 million in Backpage-derived cash was wired from
    13    LACEY’s bank accounts in the United States to an overseas bank account in Hungary.
    14           16.    For all of these reasons, the BACKPAGE DEFENDANTS are charged in this
    15    indictment with the crimes of facilitating prostitution (18 U.S.C. § 1952), concealment,
    16    transactional, and international promotional money laundering (18 U.S.C. §§ 1956 and
    17    1957), and/or conspiracy to commit these offenses (18 U.S.C § 371 and 1956).
    18    B.     Backpage’s Origins, Ownership, and Control
    19           17.    LACEY and LARKIN are the founders of the Phoenix New Times, an
    20    alternative newspaper based in Arizona. Over time, LACEY and LARKIN acquired
    21    several other alternative newspapers, which they came to operate through an entity called
    22    Village Voice Media Holdings (“VVMH”). Additionally, SPEAR served as VVMH’s
    23    Executive Vice President and BRUNST served as VVMH’s Chief Financial Officer.
    24           18.    The publications within the VVMH newspaper chain routinely featured
    25    illegal prostitution ads. In fact, more than 30 years ago, a federal court affirmed the
    26    conviction of the operator of a prostitution business (which masqueraded as a massage
    27    parlor) for publishing ads in the classified section of the Village Voice. See United States
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      1   v. Sigalow, 812 F.2d 783 (2d Cir. 1987). The conviction was for violating 18 U.S.C.
      2   § 1952, one of the same crimes charged in this indictment.
      3          19.    By 2000, the rise of the internet—and, in particular, the website
      4   www.craigslist.com (“Craigslist”), which offered free classified ads—began to
      5   significantly disrupt VVMH’s business model, which depended on classified advertising
      6   revenue for survival.
      7          20.    LACEY and LARKIN, with assistance from C.F., sought to address this
      8   threat by creating Backpage. Their decision to create Backpage was later described in an
      9   internal company document as follows: “In 2004, in response to the Craigslist threat that
    10    was decimating daily newspapers, VVM launched its own online classified site,
    11    Backpage.com, named after the back page of VVM’s print publication.”
    12           21.    During its first few years of operation, Backpage accounted for only a
    13    fraction of VVMH’s overall revenue. In January 2006, for example, VVMH estimated that
    14    Backpage supplied only 1% of its overall advertising revenue but also noted that Backpage
    15    had “tremendous upside potential.”
    16           22.    This prediction proved prophetic. By 2008, Backpage was generating over
    17    $5 million in annual profit. This annual profit figure increased to over $10 million in 2009.
    18           23.    In 2010, Craiglist chose to shut down its “adult” section due to the prevalence
    19    of ads for prostitution and other illegal services. The BACKPAGE DEFENDANTS,
    20    sensing an opportunity, made an aggressive push for Backpage to capture Craiglist’s share
    21    of this market. In one internal document, LARKIN commented: “Craigslist has folded . .
    22    . . It is possible that this will mean a deluge of adult content ads for backpage.com . . . .
    23    We have with the Village Voice probably the longest run of adult content advertising in
    24    the US and it is, like it or not, in our DNA.”
    25           24.    This push was successful. In internal documents, Backpage stated that it
    26    experienced “explosive growth” by “capitalizing on displaced Craigslist ad volume.”
    27    Backpage’s annual profits grew to over $26 million in 2010, over $52 million in 2011, and
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      1   over $78 million in 2012.
      2          25.    These figures dwarfed the profits that VVMH’s print publications were
      3   generating. In fact, Backpage became so profitable that the BACKPAGE DEFENDANTS
      4   decided to get rid of VVMH’s publishing business so they could focus on Backpage’s
      5   further development and expansion. Accordingly, in or around November 2012, the
      6   BACKPAGE DEFENDANTS spun off VVMH’s print publications and began utilizing
      7   several new corporate entities, including Medalist Holdings, Inc. (“Medalist”), Dartmoor
      8   Holdings LLC (“Dartmoor”), and Camarillo Holdings, LLC (“Camarillo”), to serve as
      9   Backpage’s parent companies.
    10           26.    Following these transactions, LACEY held an ownership interest in Medalist
    11    (and, therefore, in Backpage) of approximately 45%, LARKIN held an ownership interest
    12    of approximately 43%, BRUNST held an ownership interest of approximately 6%, and
    13    SPEAR held an ownership interest of approximately 4%.
    14           27.    Backpage’s annual profits continued to skyrocket during and after these
    15    changes. They grew to over $112 million in 2013 and over $134 million in 2014.
    16           28.    In or around April 2015, LACEY, LARKIN, SPEAR, and BRUNST
    17    purported to sell their ownership interests in Backpage and several related entities for
    18    around $600 million to various Dutch entities. These Dutch entities included Atlantische
    19    Bedrijven, C.V., which agreed to purchase Backpage’s U.S. operations for around $526
    20    million, and UGC Tech Group C.V., which agreed to purchase Backpage’s overseas
    21    operations for around $77 million.
    22           29.    In fact, these Dutch entities were controlled by C.F., who borrowed most of
    23    the $600 million from entities controlled by the sellers to finance the purchase. Due to this
    24    financial arrangement, LACEY, LARKIN, SPEAR, and BRUNST retained a significant
    25    financial interest in Backpage after the transactions were completed.
    26           30.    Additionally, LACEY, LARKIN, SPEAR, and BRUNST retained significant
    27    operational control over Backpage following these transactions. For example, the April
    28
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      1   2015 loan agreement required C.F. to sign a six-year employment agreement, required C.F.
      2   to provide the lenders with full access to Backpage’s books and records, required C.F. to
      3   provide the lenders with an annual listing of all of C.F.’s personal assets, and prohibited
      4   C.F. from opening any new bank accounts on Backpage’s behalf without the lenders’
      5   consent.
      6   C.     Backpage’s Knowledge And Facilitation Of Prostitution Ads
      7          31.    By 2008, if not earlier, the BACKPAGE DEFENDANTS were aware that
      8   the overwhelming majority of the website’s “adult” ads involved prostitution.
      9   Nevertheless, the BACKPAGE DEFENDANTS made a financial decision to continue
    10    displaying those ads.
    11           32.    The BACKPAGE DEFENDANTS also sought to sanitize the ads by editing
    12    them—that is, by removing terms and pictures that were particularly indicative of
    13    prostitution and then publishing a revised version of the ad. This process was sometimes
    14    referred to as “moderation.”
    15           33.    For example, in April 2008, C.F. wrote an email explaining that, although he
    16    was “under pressure to clean up phoenix’s adult content,” he was unwilling to delete
    17    prostitution ads because doing so “would put us in a very uncompetitive position with
    18    craig[slist]” and result in “lost pageviews and revenue.” Thus, he instructed Backpage’s
    19    technical staff to edit the wording of such ads, by removing particular terms that were
    20    indicative of prostitution, and then allow the remainder of the ad to be featured on
    21    Backpage’s website.
    22           34.    On February 26, 2009, C.F. received an email from the classified-ads
    23    manager of a newspaper within the VVMH chain asking why Backpage’s terms of service
    24    purported to prevent customers from “suggest[ing] an exchange of sexual favors for
    25    money” in light of the fact that “[c]learly everyone on the entire backpage network breaks
    26    the rules.” In response, C.F. didn’t dispute the author’s characterization and explained that
    27    Backpage had simply added the terms of service at the behest of “our attorney in SF” in an
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      1   attempt to avoid liability in civil lawsuits.
      2          35.    On May 25, 2009, SPEAR received an email summarizing a plan to begin
      3   “remov[ing] sex act pics and coded terms” from Backpage ads. Later that day, C.F.
      4   forwarded this email to HYER with the explanatory note that “We do not intend to be a
      5   craig[slist] here, just get out the most egregious stuff.”
      6          36.    On March 8, 2010, C.F. testified in federal court (the United States District
      7   Court for the Southern District of Florida) in the criminal trial of a pimp who had used
      8   Backpage to post prostitution ads. During his testimony, C.F. acknowledged the defendant
      9   had used the email address “Youngpimpin86” when posting the ads.                C.F. also
    10    acknowledged that the ads described one so-called escort as “five-foot-three, with a small
    11    waist and amazing ass you'll have to see to believe. XL, XL, XL, Lollipop” and described
    12    a different so-called escort as “discrete, sincere and extremely naughty. I am the type of
    13    girl who absolutely adores a man who understands the many desires of a young beautiful
    14    woman and how to accommodate a variety of fantasies.” This episode provided notice to
    15    Backpage that it was implausible to pretend such ads were merely offering lawful escort
    16    services.
    17           37.    On September 1, 2010, PADILLA sent an email to HYER and C.F. stating
    18    that customers who engaged in “extreme and repeat” violations of Backpage’s posting rules
    19    would have their ads deleted and be banned from the website. However, PADILLA also
    20    stated the bans would only be temporary and that “we’ll do everything we can to affect
    21    only the worst apples.”
    22           38.    On September 1, 2010, SPEAR received an email acknowledging that
    23    Backpage’s moderators were being instructed to “Remove any sex act pics in escorts [ads]”
    24    and “Remove any illegal text in escorts [ads] to include any code words for sex act for
    25    money.”
    26           39.    On September 21, 2010, a group of state attorneys general wrote a letter to
    27    Backpage.    This letter observed that “ads for prostitution—including ads trafficking
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      1   children—are rampant on the site” and argued that “[b]ecause Backpage cannot, or will
      2   not, adequately screen these ads, it should stop accepting them altogether.” The letter
      3   acknowledged that this step would cause Backpage to ”lose the considerable revenue
      4   generated by the adult services ads” but stated that “no amount of money can justify the
      5   scourge of illegal prostitution, and the misery of the women and children who will continue
      6   to be victimized, in the marketplace provided by backpage.”
      7           40.   On September 25, 2010, C.F. wrote an email explaining that Backpage was
      8   unwilling to delete ads that included terms indicative of prostitution because doing so
      9   would “piss[] off a lot of users who will migrate elsewhere” and force Backpage to refund
    10    those customers’ fees. Thus, C.F. announced that Backpage would “go back to having our
    11    moderators remove bad content in a post . . . .”
    12            41.   On September 30, 2010, C.F. testified in federal court (the United States
    13    District Court for the District of Minnesota) in the criminal trial of a pimp who had used
    14    Backpage to post prostitution ads.      During his testimony, C.F. acknowledged that
    15    Backpage’s servers are located in Arizona and that the ads posted by the Minnesota-based
    16    defendant had therefore “traveled across state lines.”
    17            42.   On October 8, 2010, PADILLA sent an email (on which VAUGHT was cc’d)
    18    threatening to fire any Backpage employee who acknowledged, in writing, that a customer
    19    was a prostitute: “Leaving notes on our site that imply that we’re aware of prostitution, or
    20    in any position to define it, is enough to lose your job over. . . . This isn’t open for
    21    discussion. If you don’t agree with what I'm saying completely, you need to find another
    22    job.”
    23            43.   On October 16, 2010, PADILLA sent an email to a large group of Backpage
    24    employees (including HYER and VAUGHT).              The email had two attachments that
    25    provided guidance on how to “moderate” ads. The first was a Powerpoint presentation that
    26    displayed a series of 38 nude and partially-nude photographs, some of which depicted
    27    graphic sex acts. Next to each picture was an instruction as to whether it should be
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      1   approved or disapproved by a Backpage moderator. These instructions included “Approve.
      2   Nude rear shots are okay as long the model is not exposing her anus or genitalia.” and
      3   “Approve. Rear shot okay. Transparent wet panties okay.” The second was an Excel
      4   spreadsheet identifying 50 terms (all of which were indicative of prostitution) that should
      5   be “stripped” from ads before publication. PADILLA concluded the email by stating:
      6   “[I]t’s the language in ads that’s really killing us with the Attorneys General. Images are
      7   almost an afterthought to them.”
      8          44.    On October 16, 2010, PADILLA sent a separate internal email (which also
      9   included HYER and VAUGHT as recipients). In this email, PADILLA explained that “I’d
    10    like to still avoid Deleting ads when possible,” that “we’re still allowing phrases with
    11    nuance,” and that “[i]n the case of lesser violations, editing should be sufficient.”
    12           45.    On October 25, 2010, C.F. sent an email to SPEAR, HYER, and PADILLA
    13    acknowledging that the “[i]llegal content removed” through Backpage’s moderation
    14    processes was “usually money for sex act.” This email also explained that, after the “sex
    15    act pics are removed,” the “ad text may stay.”
    16           46.    On October 26, 2010, HYER and PADILLA received an email explaining:
    17    “We will not remove ads with vaginas or penis showing, just the images unless they are a
    18    frequent offender. We will not remove ads with rates under an hour, just the text with the
    19    minimum rates. Users need time to react to this change.”
    20           47.    On October 27, 2010, PADILLA sent an email to the head of a group of
    21    contractors from India who had been hired to moderate Backpage’s adult ads. In this email,
    22    PADILLA criticized the contractors for deleting too many ads, stated that this approach
    23    was bad for business, and instructed the contractors to simply edit the ads to remove the
    24    more-obvious language: “As long as your crew is editing and not removing the ad entirely,
    25    we shouldn’t upset too many users. Your crew has permission to edit out text violations
    26    and images and then approve the ad.”
    27           48.    On October 27, 2010, HYER sent an internal email stating that Backpage
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      1   was “editing 70 to 80%” of the ads it received from customers. In other words, HYER
      2   acknowledged that a large proportion of the ads originally submitted by Backpage’s
      3   customers contained text and pictures that were indicative of prostitution and that
      4   Backpage was still choosing to publish those ads after editing them.
      5          49.    On November 4, 2010, C.F. sent an email to Backpage’s India-based
      6   moderators (on which PADILLA was cc’d) explaining that “[m]any of the ads need to have
      7   15 minute and 30 minute pricing removed” and that “I’m being evaluated by lawyers [i.e.,
      8   state attorneys general] later this week so cleaning up old stuff is important.”
      9          50.    On November 17, 2010, HYER and PADILLA received an email
    10    acknowledging that the term Lolita is “code for under aged girl” but explaining that this
    11    term could simply be stripped out from ads (as opposed to refusing to publish the ad). The
    12    email also explained that customers should be allowed to include their identification
    13    numbers from a notorious prostitution website, The Erotic Review: “[A]llow users to put
    14    in TER IDs (just no live links).”
    15           51.    On November 30, 2010, LARKIN, SPEAR, and other Backpage
    16    representatives participated in a conference call with representatives from NCMEC.
    17    During this call, the Backpage representatives were advised that a large portion of the ads
    18    on Backpage were blatant prostitution ads, that many of those ads featured children, and
    19    that the posting of such ads was illegal in every state.
    20           52.    In December 2010, HYER, PADILLA, and others exchanged a series of
    21    emails entitled “Deep cleaning strip out.” These emails identified a lengthy list of terms
    22    that were indicative of prostitution and discussed plans for removing the terms from the
    23    old ads in Backpage’s archives. During this exchange, C.F. stated that Backpage wasn’t
    24    willing to delete the old prostitution ads because “our users love” having access them,
    25    “[s]o, best to do deep cleaning and not kill a valuable feature.” C.F. later encouraged
    26    Backpage’s staff to complete the project quickly to avoid scrutiny: “This task is urgent
    27    since CNN is runing [sic] a report soon.”
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      1          53.    On January 13, 2011, HYER and PADILLA received an email summarizing
      2   instructions that had been provided to members of Backpage’s technical staff. It explained
      3   that the technical staff had been instructed “not to display the moderation log” in a
      4   particular section of Backpage’s database “since we pdf this page for subpoenas. I would
      5   rather not testify in court as to why my staff ‘approved’ . . . postings.”
      6          54.    In January 2011, LARKIN and LACEY met with a representative from
      7   NCMEC. During this meeting, LACEY asked which types of sex ads would be acceptable
      8   from NCMEC’s perspective. When the NCMEC representative declined to say that any
      9   such ads would be acceptable, LACEY made a statement to the effect of “adult prostitution
    10    is none of your business.”
    11           55.    On January 31, 2011, and February 1, 2011, C.F. engaged in an email
    12    exchange concerning whether to remove links to other prostitution websites (such as The
    13    Erotic Review) from expired Backpage ads. C.F. stated that, although SPEAR and his
    14    “internet safety guy” were recommending that such ads be removed, he thought this would
    15    “be a stupid move” because it would hurt Backpage financially (by reducing the number
    16    of referrals from other sites). C.F. added that “this overly zealous focus on moderation at
    17    the expense of other development is a lot of bullshit . . . .”
    18           56.    On February 2, 2011, C.F. sent an email acknowledging that “[t]he strip out
    19    affects almost every adult ad.” In other words, C.F. acknowledged that “almost every adult
    20    ad” on Backpage was a prostitution ad that had been edited to remove the most damning
    21    text and pictures.
    22           57.    On February 3, 2011, a Backpage customer who went by the name “Licks
    23    Alot” wrote an email to Backpage complaining that all of the pictures in one of her ads
    24    (entitled “Athletic SWF Guaranteed Low Mileage Boys!!!”) had been deleted. C.F.
    25    responded to “Licks Alot” by explaining that one of her photos had been removed because
    26    “[o]ur crazy internet safety experts do not want any genitalia showing up around the
    27    thong.” However, C.F. proceeded to apologize to “Licks Alot” over the removal of her
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      1   remaining photos, allowed her ad (which was obviously for prostitution) to remain on the
      2   website, and offered her a free upgrade.
      3          58.    On February 8, 2011, C.F. testified in federal court (the United States District
      4   Court for the Middle District of Florida) in the criminal trial of a pimp who had used
      5   Backpage to post prostitution ads. During his testimony, C.F. authenticated one of the ads
      6   the defendant had placed on Backpage, whose title was “Extra horny sexy newbie,”
      7   confirmed that Backpage had allowed this ad to be posted multiple times in various East
      8   Coast cities, and acknowledged that Backpage published “a lot” of similar ads. This
      9   episode provided further notice to Backpage that it was implausible to pretend such ads
    10    were merely offering lawful escort services.
    11           59.    On February 16, 2011, PADILLA sent an email to Backpage’s India-based
    12    moderators (on which VAUGHT was cc’d) explaining that Backpage was adopting a
    13    “more lenient policy” and that he was instructing his Phoenix-based employees to “go easy
    14    on some types of violations.” PADILLA acknowledged this approach would “likely” result
    15    in more “violations” but emphasized that “moderators should err on the side of the user.”
    16           60.    On February 16, 2011, PADILLA sent a separate email discussing whether
    17    several terms should remain on Backpage’s “filtered terms” list. During this discussion,
    18    PADILLA acknowledged—by placing quote marks around the term “companionship”—
    19    that he didn’t actually believe the women being advertised on Backpage were providing
    20    lawful escort services: “[The term] implies some exchange of bodily fluids which kills our
    21    ‘companionship’ argument, but i don’t think we’ve ever really gotten in trouble for it.”
    22           61.    On February 22, 2011, PADILLA received an email requesting Backpage’s
    23    “list of banned, stripped out adult terms.”         In response, PADILLA sent an Excel
    24    spreadsheet entitled “Phrase List 02211,” which PADILLA described as “the latest greatest
    25    version of the list.” The enclosed spreadsheet identified over 660 words or phrases that are
    26    indicative of prostitution, including an array of terms that are suggestive of child
    27    prostitution (e.g., “lolita,” “fresh,” “high school,” “tight,” “young”). The spreadsheet
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      1   explained that most such terms were simply to be “filtered” from the ads in which they
      2   appeared.
      3          62.     On February 23, 2011, PADILLA received an email concerning a particular
      4   ad that had recently been edited by Backpage’s India-based moderators. The ad was
      5   obviously for prostitution—its title was “new-new-new-put me in your favorite position”
      6   and the poster had attempted to include two photographs that violated Backpage’s posting
      7   rules. In response, the India-based moderators had deleted both of those photos, as well as
      8   a third photo that depicted the prostitute’s face, and then allowed the ad to be published.
      9   The email received by PADILLA did not criticize the moderators for allowing an obvious
    10    prostitution ad to be published after editing. To the contrary, it emphasized that the ad
    11    should remain on Backpage and criticized the moderators for removing the third photo,
    12    threatening to fire them if they did it again: “2 out of 3 pics should have been removed.
    13    But [the] moderator deleted all three pics. This is plain wrong . . . . I would fire a moderator
    14    in Phoenix if they did this.”
    15           63.     In March 2011, LARKIN, LACEY, SPEAR, and other Backpage
    16    representatives met with representatives from NCMEC. During this meeting, the Backpage
    17    representatives were again advised that a large portion of the ads on Backpage were blatant
    18    prostitution ads. The Backpage representatives also were advised they could be criminally
    19    prosecuted under federal law for their conduct.
    20           64.     On April 5, 2011, PADILLA sent an email whose recipients included
    21    VAUGHT and the supervisor of Backpage’s Indian moderation team. The email was
    22    entitled “relaxed image standards” and included, as an attachment, a document that
    23    displayed a series of 30 nude and partially-nude photographs. Next to each picture was an
    24    instruction as to whether it should be approved or disapproved by a moderator. One picture
    25    showed a woman sitting on a bed, wearing only a bra and panties, with her legs spread
    26    open and her hand partially covering her crotch. The caption provided in part: “okay –
    27    but barely.”
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      1          65.     Between April 2011 and March 2012, PADILLA, C.F., and others
      2   participated in an email exchange acknowledging that Backpage was deleting thousands of
      3   pictures from customer ads each week and seeking assistance in collecting all of the deleted
      4   pictures so they could be used for “entertainment” or to generate user “traffic for other
      5   projects.” The email explained that the deleted pictures could be made available to the
      6   public on a new website called “nakedpics.backpage.com” or “badpics.backpage.com.”
      7          66.     On April 19, 2011, LARKIN and SPEAR received an email seeking
      8   permission to terminate the contract of a third-party vendor that had been receiving $17,000
      9   per month to “remov[e] any nude pics” from the expired ads in Backpage’s database.
    10    LARKIN responded: “do it!”
    11           67.     On June 7, 2011, C.F. received an inquiry from a law enforcement official
    12    about a particular ad that included the term “amber alert.” In response, C.F. acknowledged
    13    this might be “some kind of bizarre new code word for an under aged person.” C.F. then
    14    forwarded this exchange to PADILLA and stated that he had instructed HYER to add
    15    “amber alert” to Backpage’s “strip out” list. In other words, HYER, PADILLA, and C.F.
    16    did not require all future ads involving this particular coded term for the prostitution of a
    17    child to be blocked from Backpage—they merely required such ads to be edited before
    18    publication.
    19           68.     On June 30, 2011, several Backpage representatives met with representatives
    20    from the office of the Washington State Attorney General. During this meeting, the
    21    Backpage representatives initially attempted to claim that no prostitution ads appeared on
    22    their website. In response, a representative from the Attorney General’s office stated:
    23    “You mean to tell me that if someone responded to an advertisement, the woman they
    24    called for services would be offering to go out for coffee?” A Backpage representative
    25    responded to this question by looking at C.F., laughing, and acknowledging that Backpage
    26    couldn’t “deny the undeniable.”
    27           69.     On July 27, 2011, C.F. sent an email to HYER and PADILLA, and a nearly-
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      1   identical email to LARKIN and LACEY, concerning the possibility of using age-
      2   verification software. In this email, C.F. acknowledged the software might be beneficial
      3   (“This might be our solution”) but recommended against its wholesale adoption because it
      4   would cost “79 to 99 cents per query” and would thus cut into Backpage’s profits.
      5          70.    On July 28, 2011, LACEY sent LARKIN a draft editorial entitled “BackPage
      6   understood.” In this document, LACEY bragged about Backpage’s contributions to the
      7   prostitution industry: “Backpage is part of the solution. Eliminating our adult advertising
      8   will in no way eliminate or even reduce the incidence of prostitution in this country. . . .
      9   For the very first time, the oldest profession in the world has transparency, record keeping
    10    and safeguards.” LACEY also acknowledged that Backpage used an automatic filter to
    11    remove particular phrases from ads that were indicative of prostitution but still published
    12    the ads after editing them.
    13           71.    Soon afterward, LARKIN forwarded the editorial to C.F., with a cover note
    14    cautioning against some of LACEY’s statements “being made public” because “we need
    15    to stay away from the very idea of ‘editing’ the posts, as you know.” C.F., in turn, revised
    16    the editorial to take out the paragraph lauding Backpage’s contributions to the prostitution
    17    industry.
    18           72.    On August 5, 2011, Backpage received a letter from the mayor of Seattle.
    19    This letter warned that “Seattle Police have identified an alarming number of juvenile
    20    prostitutes advertised on Backpage.com since January 2010” and explained that Backpage
    21    was dissimilar from other companies whose products and services are “occasionally or
    22    incidentally” utilized by criminals because “[y]our company is in the business of selling
    23    sex ads” and “your services are a direct vehicle for prostitution.”        The letter also
    24    recommended that Backpage require in-person age verification for all of the “escorts”
    25    depicted in its ads. Afterward, Backpage declined to adopt these recommendations.
    26           73.    On August 15, 2011, PADILLA received an email containing an updated
    27    version of Backpage’s moderation guidelines. This six-page document provided the
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      1   following instructions concerning photographs: “Nude rear shots are okay as long the
      2   model is not exposing her anus or genitalia,” “Transparent wet panties okay should not be
      3   able to see personal private part,” and “cherry, Ice-cream keeping in mouth [is okay].” The
      4   document also explained that “Bikini, lingerie, g-string, thong, and hands covering nipples
      5   are all allowed,” “Hourly rates are OK,” and “Sessions are okay. E.g $50 session.”
      6          74.    On August 31, 2011, Backpage received a letter from the National
      7   Association of Attorneys General. This letter characterized Backpage as “a hub” for
      8   human trafficking, identified “more than 50 instances, in 22 states over three years, of
      9   charges filed against those trafficking or attempting to traffic minors on Backpage.com,”
    10    and noted that “[n]early naked persons in provocative positions are pictured in nearly every
    11    adult services advertisement on Backpage.com and the site requires advertisements for
    12    escorts, and other similar ‘services,’ to include hourly rates. It does not require forensic
    13    training to understand that these advertisements are for prostitution.”
    14           75.    On October 6, 2011, C.F. sent an email discussing various proposals for
    15    addressing “the under aged issue.”         With respect to one particular proposal, C.F.
    16    acknowledged it was a good one but recommended against adopting it because Backpage
    17    would not derive any public-relations benefit from doing so: “This is a good idea but it is
    18    not visible to AG’s [state attorneys general] so it has little PR value. It is a low priority.”
    19           76.    In the fall of 2011, Backpage sought the assistance of a public relations firm
    20    based in Washington, D.C. On October 12, 2011, C.F. received a written copy of the firm’s
    21    presentation. Later, some of the BACKPAGE DEFENDANTS attended a meeting at
    22    which the presentation was discussed in more detail. The presentation warned that
    23    Backpage’s business practices would inevitably result in legal trouble (“One day the
    24    proverbial is going to hit the fan”) and characterized Backpage’s “media strategy” as “Do
    25    not acknowledge the prostitution.” The presentation also noted that the “ads on the
    26    backpage.com site” generally fall into three categories, one of which is “Pimps and Men
    27    Looking for Kids.”
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      1          77.    On October 21, 2011, LARKIN received an email discussing whether the
      2   Backpage website should include a warning message concerning the prostitution of
      3   children. This email contained the following joke: “Andrew [PADILLA] thinks it to[o]
      4   heavy handed and thinks our web site name will be entrapment.com (Hilarious).”
      5          78.    On November 16, 2011, HYER and PADILLA received an email asking for
      6   “urgent” assistance in eliminating the word “teen” from the ads appearing on Backpage’s
      7   website: “Remove ads with teens or remove the text teen from . . . ads.” The following
      8   day, PADILLA wrote back with an update that he had found “76 pages of results” and that
      9   he had simply “edited” all of the ads posted within the last two months (i.e., allowed those
    10    ads to remain on the website after sanitizing them).
    11           79.    Between around January and March 2012, many of Backpage’s moderators
    12    (who were supervised in part by PADILLA and VAUGHT) underwent performance
    13    appraisals. These appraisals revealed that many of the moderators did “not report young
    14    looking escorts.” Nevertheless, these moderators were allowed to keep their jobs, and
    15    sometimes were given strong overall performance ratings.
    16           80.    On February 16, 2012, PADILLA sent an email to VAUGHT stating that
    17    Backpage should limit the number of child-exploitation referrals it was making to
    18    NCMEC: “If we don’t want to blow past 500 this month, we shouldn’t be doing more than
    19    16 a day.”
    20           81.    On February 23, 2012, C.F. was forwarded a legal notice claiming that
    21    several of Backpage’s ads included copyrighted content from two competing websites
    22    called RubMaps.com and EroticMP.com. C.F. also received copies of the underlying ads
    23    from the competing websites, which clearly involved prostitution. In one of the ads, a
    24    customer stated that, in return for $45 and a $5 tip, he had received a “Blow Job . . . w/
    25    condom” from a woman who “had nice breasts.” In a different ad, a customer stated that,
    26    in return for $60, he had oral and vaginal sex with a prostitute. And in a different ad, a
    27    customer stated: “Her bj was slow and erotic, and she was happy to go with whatever
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Case 2:18-mj-00724-DUTY
  Case                  *SEALED*
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      1   position I wanted.” When C.F. forwarded these materials to Backpage’s staff, he was asked
      2   whether the corresponding ads appearing on Backpage’s website should be removed
      3   immediately. C.F. replied that they should be allowed to remain on Backpage for another
      4   few weeks without any modification.
      5          82.    On March 15, 2012, HYER received an email concerning the ads with the
      6   copyrighted material.    This email stated that the ads shouldn’t be deleted and that
      7   Backpage’s technical staff should merely “strip out” the names of the competing
      8   prostitution websites:   “Copyright infringement issue.      We need to strip out every
      9   appearance of rubmaps.com and eroticmp.com.” When a staff member sought more
    10    guidance, HYER interjected: “We don’t need to delete ads or users.”
    11           83.    On April 7, 2012, PADILLA was informed that a woman had contacted
    12    Backpage to report that one of the “escorts” depicted on the site was only 17 years old.
    13    The woman provided the juvenile’s full name and birth year and further stated that the
    14    juvenile had been attempting to recruit the complaining party’s daughter (who was 15). In
    15    response, PADILLA instructed his staff to refuse to remove the ad because “she’s isn’t
    16    claiming her own daughter is in the ad.”
    17           84.    On April 8, 2012, LACEY sent an email emphasizing that “jim [LARKIN]
    18    and I believe in legalized prostitution” and stating that Backpage’s efforts to prevent the
    19    prostitution of children on the site were “not perfect, by any means.”
    20           85.    On April 25, 2012, a Backpage representative spoke at a meeting of the New
    21    York City Council’s Women’s Issues Committee. During this meeting, the representative
    22    stated it was better to have ads for sex work appear on Backpage than have them move to
    23    other places on the internet. The representative further stated: “I don’t deny that Backpage
    24    is part of the problem, but the problem is the internet.”
    25           86.    On April 27, 2012, a woman wrote an email to Backpage’s support
    26    department stating that her underage daughter had been kidnapped, drugged, and was being
    27    advertised as a prostitute against her will. The email identified the specific phone number
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      1   associated with the ads (754-229-xxxx), stated that the ads appeared on a website called
      2   BackpagePics.com, and asked that the ads be removed immediately: “This is a drugged
      3   and held against her will child who had photos taken under threat and duress . . . . Please
      4   remove.” This email was forwarded to PADILLA by a subordinate, who asked “should
      5   we respond?”        PADILLA replied by explaining that, because the website
      6   BackpagePics.com wasn’t owned by Backpage, there was no need to respond to the
      7   mother.
      8          87.    On April 30, 2012 (three days later), the same woman wrote another email
      9   to Backpage’s support department. In this email, the woman stated that “I have contacted
    10    backpage on several occassions [sic] to remove these pictures which were posted against
    11    her will and while she was drugged and held captive. I have yet to receive a reply.” This
    12    time, the woman provided a link to her daughter’s ad on Backpage (not
    13    BackpagePics.com), which included the same phone number (754-229-xxxx) that had been
    14    included in the other ad.
    15           88.    On May 1, 2012 (the next day), the same woman wrote a third email to
    16    Backpage’s support department. In this email, the woman included a link to another ad on
    17    Backpage depicting her underage daughter and stated: “I also found a pix of my daughter
    18    within this url both girls are in protective custody.” Later that day, the woman received an
    19    email from Backpage’s support department stating: “The post is confirmed removed.”
    20           89.    Some of these emails were forwarded to LACEY and LARKIN. In response,
    21    LARKIN applauded Backpage’s “good solid response” to the woman and remarked: “this
    22    whole rigamarole seems a little odd to me.”
    23           90.    On May 10, 2012, the television news station CNN ran an expose on
    24    Backpage that emphasized “how young some of these girls look” and deemed the website
    25    “a hub for the sex trade.”
    26           91.    On May 11, 2012, PADILLA sent an email to VAUGHT and other Backpage
    27    employees entitled “forbidden planet.” Enclosed with the email was an Excel spreadsheet
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      1   that identified over 600 words and phrases that are indicative of prostitution.         The
      2   spreadsheet also specified, for each word and phrase, whether an ad containing the
      3   offending language should be banned or whether Backpage should simply “strip term from
      4   ad” and then publish it after the revision.
      5          92.     On July 12, 2012, PADILLA sent an email (which was also shared with
      6   VAUGHT) to the head of Backpage’s Indian moderation team. In this email, PADILLA
      7   criticized the moderators for deleting too many ads and provided the following instruction:
      8   “I agree that ‘over cautiousness’ is as big of a problem as moderators that miss a lot of
      9   violations.”
    10           93.     In or around November 2012, a researcher at Arizona State University
    11    published a study concluding that most of the ads on Backpage’s Phoenix page involved
    12    prostitution and that many of the ads depicted juvenile trafficking victims. On December
    13    19, 2012, LACEY was forwarded a copy of the study’s results. The researcher responsible
    14    for the study also met with a Backpage representative to propose various mechanisms for
    15    reducing or eliminating the prostitution of children on the website. Backpage declined to
    16    adopt these proposals.
    17           94.     Between around September 2010 and October 2012, C.F. became aware that
    18    a particular Backpage customer, P.R., was posting prostitution ads. Rather than bar this
    19    customer from posting future ads, C.F. repeatedly restored her posting privileges and gave
    20    her advice on how to conform to Backpage’s publication standards. The communications
    21    involving this woman’s ads included the following:
    22           •       On September 26, 2010, C.F. received an email from a woman who was
    23    obviously posting prostitution ads on Backpage. The woman, whose email address
    24    included the phrase “provider4u,” wrote to complain that her escort ad (“50 Red Roses
    25    special – Dont Miss out !!!”) had been removed even though “[o]ther women have more
    26    explicit ads than me and they are up!” The woman continued: “I can not afford to have
    27    this ad removed. This is the only way I can get by and if its not on all the time I will not
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      1   be able to pay my bills . . . . My fiancé is in jail and he is not able to help me at this
      2   point.” In response, C.F. arranged for the woman to be allowed to continue posting ads.
      3          •      On October 6, 2010, C.F. received another email from the same woman. In
      4   this email, she complained that her most recent ad had been removed because it included
      5   an explicit picture of her body. She provided a copy of the picture to C.F. and stated: “If
      6   the person [who removed the ad] is such a prude well maybe they should check out the
      7   other women’s ads in that [escorts] section.” On November 15, 2010, C.F. wrote back to
      8   the woman to encourage her to edit the ad so it could be re-posted: “Ok, please try editing
      9   the ad now.” After this exchange, the woman was permitted to resume posting ads on
    10    Backpage.
    11           •      On June 6, 2011, C.F. received another email from the same woman. It
    12    stated: “I would really appreciate it if you would please take the block off my ad for editing
    13    . . . . I wont post any more objectionable pics, ok?” In response, C.F. arranged for the
    14    woman’s editing and posting privileged to be restored: “You should be able to edit
    15    now. Please let us know if you are still having any trouble.” After this exchange, the
    16    woman resumed posting ads on Backpage.
    17           •      On July 14, 2012, C.F. received another email from the same woman. It
    18    stated: “would you please take the edit block off my ad. I need to change some info on it
    19    and update it. I promise i wont put no more nude pics in it, you have my word. . . . [M]y
    20    ad says: 50 red roses special – dont miss out.” After this exchange, the woman was allowed
    21    to continue posting ads on Backpage.
    22           •      On September 17, 2012, C.F. received another email from the same
    23    woman. This time, she complained that Backpage was editing her ads (whose title
    24    continued to feature the obvious prostitution term “50 Red roses special”) to remove the
    25    most explicit pictures. She stated: “I would like to know why my ad in the escort section
    26    of backpage keeps getting messed with. . . . [S]omeone keeps erasing the link to my pics
    27    on the ad. that is so wrong. I am being deprived of income that I sorely need . . . . There
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      1   are other woman posting pics on their ads that show more nudity . . . .” After this exchange,
      2   the woman was permitted to continue posting ads on Backpage.
      3          •      On October 16, 2012, the woman wrote another email to Backpage. In this
      4   email, she again complained about how Backpage was editing her ads to remove the most
      5   explicit pictures. She stated: “It is very hard for me to make any income from this ad as
      6   they continually go into my ad and remove the link from the ad that goes to my
      7   pictures. They wont allow me to post my pics on the ad yet other women with other ads
      8   show more nudity than my pictures ever did.”
      9          •      This email was forwarded to VAUGHT and to PADILLA, who asked
    10    another Backpage employee to “dig into this one a little.” On October 17, 2012, PADILLA
    11    received a follow-up email from his co-worker stating that the woman’s ad had been posted
    12    on September 27, was still on the Backpage website, and that the pictures the woman had
    13    originally attempted to include in the ad (which had been stripped by Backpage) were
    14    “topless shots.”
    15           •      Following these exchanges, between October 2012 and November 2015, the
    16    same customer was allowed to post over a dozen new ads on Backpage, many of which
    17    utilized the same identifying information, coded prostitution terms, and contact phone
    18    number as before.
    19           95.    On January 7, 2013, VAUGHT was informed by a moderator that Backpage
    20    wasn’t diligently pursuing reports of child exploitation: “We’ve supposedly been checking
    21    them, but some seem to be ignored. They get ‘marked as read’, but nothing gets done with
    22    them. It’s aggravating and irresponsible.”
    23           96.    On June 6, 2013, Backpage received a letter from NCMEC recommending
    24    the adoption of several specific security measures to prevent the trafficking of children.
    25    The recommended security measures included (a) verifying the age and identity of users
    26    who submitted adult ads, (b) verifying the age and identity of individuals depicted in
    27    photographs within adult ads, (c) prohibiting the use of anonymous payment sources such
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      1   as prepaid credit cards, and (d) requiring users to utilize verified email addresses and
      2   telephone numbers.        Afterward, Backpage declined to follow any of these
      3   recommendations.
      4          97.    On August 30, 2013, LARKIN, SPEAR, BRUNST, HYER, and C.F.
      5   received an email notifying them that “Chase [Bank] was no longer accepting transactions
      6   from Backpage.com, due to their involvement in human trafficking.” In response, C.F.
      7   informed the group that he intended to begin “giv[ing] users free ads if they complain while
      8   we wait on directly transactions to another processor.”
      9          98.    On September 11, 2013, a Backpage representative made a presentation to
    10    the Arizona Governor’s Task Force on Human Trafficking. Following this presentation
    11    (which took place in Phoenix), the representative was asked whether there would be any
    12    “cons” to requiring verifiable identification of all escorts being advertised on Backpage’s
    13    website. In response, the representative did not identify any financial or logistical hurdles
    14    to the adoption of such a requirement. Instead, the representative stated that such a
    15    requirement would simply cause Backpage to lose business to other prostitution websites
    16    like myRedBook.com or to overseas prostitution websites. During this meeting, members
    17    of the task force also provided the representative with evidence showing that Backpage’s
    18    moderation efforts were ineffective at preventing the publication of prostitution ads.
    19           99.    On April 3, 2014, PADILLA and VAUGHT were forwarded an email that
    20    had been sent to Backpage by a credit card processing company in Canada. The email
    21    stated that “[w]e have multiple user accounts that are paying for your services for what I
    22    understand to be prostitution advertisements” and sought information about “how you are
    23    processing these transactions.”
    24           100.   On April 14, 2014, LARKIN and BRUNST received an email from C.F.
    25    discussing why Backpage had experienced “past high growth” and identifying various
    26    ideas for achieving “future growth.” This email stated that Backpage had been the
    27    beneficiary of “[m]igration of content from other . . . marketplaces to the internet” and
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      1   identified one particular marketplace as a key source of Backpage’s customers: “[N]et loss
      2   for brick and mortar marketplaces: Strip clubs, hotels, and gathering spots displaced by the
      3   internet.” In other words, the email acknowledged that the supposed “escorts” advertising
      4   on Backpage were actually prostitutes (lawful escorts did not congregate at strip clubs,
      5   hotels, and other brick-and-mortar “gathering spots” during the pre-internet age). This
      6   email also attributed Backpage’s success in part to its adoption of policies that allowed
      7   customers to post ads without leaving any meaningful identifying information—in a list of
      8   Backpage’s advantageous policies, it identified “Anonymous,” “Prepaid card friendly,”
      9   “User can post paid ads without a valid email address,” and “bitcoin.”
    10           101.   On April 24, 2014, VAUGHT sent an email to Backpage’s moderators (while
    11    cc’ing PADILLA). In this email, VAUGHT explained that if a moderator came across an
    12    ad containing a link to a “sex for money” website, the moderator should add the link to a
    13    list of banned terms but “don’t bother removing it from the current ad.”
    14           102.   On September 4, 2014, Backpage was served with a brief that had been filed
    15    by NCMEC in a lawsuit in Washington state court. In this brief, NCMEC criticized the
    16    sincerity of Backpage’s efforts to prevent child sex trafficking: “Backpage has repeatedly
    17    claimed in public statements and court filings that it is working to reduce child sex
    18    trafficking on its website. The unpleasant reality is that Backpage publicizes carefully
    19    selected operational processes as a subterfuge to avoid increased scrutiny, while providing
    20    traffickers with easy access to an online venue to sell children for sex. In practice,
    21    Backpage’s stated interest in doing something meaningful to stop child sex trafficking ads
    22    on its site is apparently overridden by the enormous revenue it generates from its escort
    23    ads, including ads selling children for sex.”
    24           103.   On March 17, 2015, a law enforcement officer with the California
    25    Department of Justice spoke with a Backpage representative concerning the prevalence of
    26    blatant prostitution ads on Backpage. In response, the representative did not dispute the
    27    officer’s characterization and said the internet and prostitution were not going away.
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      1          104.      On July 30, 2015, a document entitled “trainingJuly2015” was distributed to
      2   Backpage’s moderators. This training manual specifically told moderators that, if they saw
      3   a photograph depicting “a person [who] looks young/minor,” they should “approve dont
      4   delete the ad unless it has a banned term.” The training manual also identified, under the
      5   heading “THESE ARE ALL OKAY,” a long list of terms that are indicative of prostitution,
      6   such as “99% CUM BACK FOR MORE,” “car service,” and “lollipop special.”
      7          105.      In or around August 2015, as part of a lawsuit in Illinois, Backpage was
      8   served with an affidavit from a detective employed by the Seattle Police Department. In
      9   this affidavit, the detective avowed that “[t]o date, no Detective within the Seattle Police
    10    Department’s Vice/High Risk Victims Unit has ever found a legitimate ‘escort’ (person
    11    who charges simply for companionship with no offer of sex) or ‘masseuse’ (person offering
    12    legitimate and licensed massage therapy rather than sex) while responding to ads placed in
    13    these categories on Backpage.com” and that “every time the Seattle Police Department’s
    14    Vice/High Risk Victims Unit has responded to an ad in the adult section of Backpage.com,
    15    we have found that the ad was a posting for illegal activity.”
    16           106.      In or around August 2015, during the same lawsuit in Illinois, Backpage was
    17    served with a different affidavit from a detective employed by the Boston Police
    18    Department. In this affidavit, the detective avowed that “Backpage.com is the number one
    19    site in Boston for prostitution and sex trafficking,” that his unit had “[s]ince 2010 . . .
    20    arrested over 100 buyers of sex of both adults and minors through Backpage.com ads,” and
    21    that “nearly all the cases we find associated with it [Backpage] involve pimp controlled
    22    prostitution.”
    23           107.      On October 7, 2015, PADILLA received an email from another Backpage
    24    employee (which was later forwarded to VAUGHT) disclosing that there were “massive
    25    numbers of live ads with banned terms and pictures out on the site.”
    26           108.      On December 9, 2015, Backpage received an email from a reporter stating
    27    that “[o]f the 359 sex trafficking incidents Toronto Police have been involved in since
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      1   2013, every single girl that was rescued was advertised on Backpage.” The email also
      2   asked: “Why hasn’t Backpage closed down the adult escort ads portion of its site like
      3   Craigslist when it’s known that underage girls are being exploited via Backpage?”
      4          109.    In or around January 2016, Company A was retained to serve as a payment
      5   processor for some of Backpage’s websites. On April 29, 2016, Company A informed C.F.
      6   that it had conducted “a review of your website, and unfortunately we had to suspend your
      7   account . . . [because] advertising of illegal activities is strictly forbidden.”
      8          110.    Beginning in or around January 2016, Backpage’s moderators were
      9   instructed to stop removing ads that contained the phrase “GFE.” For example, on January
    10    28, 2016, VAUGHT was sent an email from a Backpage moderator explaining that “As far
    11    as I am aware we are no longer removing ads for GFE.” Similarly, on March 9, 2016, a
    12    Backpage moderator sent an email to his coworkers explaining that “Andrew [PADILLA]
    13    and I talked about the GFE thing, going forward we will not be removing ads for GFE”
    14    and clarifying “this includes even gfe with price.” And again, on March 25, 2016, an email
    15    was sent to Backpage’s moderation staff stating that “We are no longer removing ads for
    16    ‘GFE’ or ‘PSE.’”
    17           111.    In fact, the BACKPAGE DEFENDANTS repeatedly acknowledged that the
    18    term “GFE” (girlfriend experience) is a coded term for prostitution. For example:
    19           •       On October 26, 2010, SPEAR, HYER, and PADILLA received an email
    20    from C.F. that explained: “No coded sex act for money: GFE, PSE, BBBJ, DATY, etc.”
    21           •       On May 4, 2011, HYER sent an email to PADILLA and others identifying
    22    GFE as a “code word” that should be forbidden.
    23           •       On August 31, 2011, PADILLA and C.F. exchanged emails in which they
    24    discussed a list of 100 “solid sex for money terms.” The list included “GFE = girlfriend
    25    experience.”
    26           •       On November 2, 2011, PADILLA and VAUGHT received an email from a
    27    co-worker identifying GFE in a list of “sex phrases and coded terms” that are “not
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      1   allowed.”
      2          112.   HYER, PADILLA, and other BACKPAGE DEFENDANTS periodically
      3   received a “Google alert” when articles discussing Backpage appeared in the news. Many
      4   of the news articles identified in these alerts discuss instances in which prostitutes who had
      5   been advertised on Backpage were kidnapped, raped, or murdered.
      6          113.   In January 2017, after conducting a lengthy investigation, the Senate
      7   Subcommittee on Permanent Investigations (“Subcommittee”) issued a 50-page report
      8   entitled “Backpage.com’s Knowing Facilitation of Online Sex Trafficking.” This report
      9   concluded, among other things, that virtually all of Backpage’s “adult” ads are actually
    10    solicitations for illegal prostitution services and that “Backpage has maintained a practice
    11    of altering ads before publication by deleting words, phrases, and images indicative of
    12    criminality, including child sex trafficking . . . . Those practices served to sanitize the
    13    content of innumerable advertisements for illegal transactions—even as Backpage
    14    represented to the public and the courts that it merely hosted content others had created.”
    15           114.   In response to the Subcommittee’s report, Backpage purported to shut down
    16    the “adult” section of its website. However, the prostitution ads simply migrated to other
    17    sections of the website, where they remain to this day.
    18    D.     International Operations
    19           115.   In addition to facilitating prostitution through its U.S. website, Backpage has
    20    also facilitated prostitution through its websites in foreign countries. In this context,
    21    Backpage often affirmatively creates the content of the illegal prostitution ads being
    22    published.
    23           116.   Around 2013 or 2014, Backpage hired a Philippines-based company
    24    (Company B) in an attempt to increase the profitability of Backpage’s international
    25    operations. Company B’s employees were instructed to (1) visit rival prostitution websites
    26    in other countries, (2) obtain the email addresses of prostitutes who were posting ads on
    27    those websites (often by falsely posing as prospective customers), (3) use the information
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      1   from the other website to create a competing prostitution ad on Backpage (a process
      2   referred to internally as “preboarding”), and then (4) transmit the new ad to the prostitute,
      3   often using the previously-harvested email account information, in an attempt to persuade
      4   the prostitute to become a Backpage customer. Company B’s employees were paid
      5   bonuses based on the amount of ad revenue they generated for Backpage using these
      6   techniques.
      7          117.   Backpage’s executives were fully aware of the plan to use Company B to
      8   create prostitution ads outside the United States. For example, on or around November 6,
      9   2013, C.F. made a presentation to LARKIN, SPEAR, and BRUNST. Among other things,
    10    this presentation summarized Backpage’s plans for “International Planning and
    11    Expansion.” One of the plans was to use the Philippines as a “test” market and hire Filipino
    12    contractors to “contact by email leads, secure email address, add ad and email address in
    13    [computer system] and assign to American staff. American staff makes contact.”
    14           118.   On August 7, 2014, HYER sent an email stating that Company B was “an
    15    efficient and cost effective way for us to bring new users to backpage.” This email also
    16    contained the following summary of how Company B would operate: “Process after hiring
    17    company offering BPO services: 1. Backpage provides BPO with sites, categories &
    18    countries to target. Backpage also provides sample ‘scripts’ and examples of phone
    19    calls. 2. BPO contacts users via phone from sites backpage provided, obtains user email
    20    address & permission to preboard ad. 3. BPO preboards ad as public user. 4. After ad is
    21    preboarded, users receive verification link to verify the ad.” This email also stated that
    22    Backpage would offer a “bonus per verified authenticated ad.”
    23           119.   On April 10, 2015, a “five-year business plan” was emailed to LARKIN,
    24    BRUNST, SPEAR, and C.F. One of the goals for 2015 was “Off shore marketing staff in
    25    the Philippines to grow to 166 and main task is international market content acquisition.”
    26    This email also included a separate attachment stating that HYER should be considered for
    27    promotion because “his strengths are strong marketing and revenue growth skills” and he
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      1   had been “heavily involved in the user experience development” and that VAUGHT should
      2   be considered for a promotion because “[h]er strengths include six years of experience
      3   managing moderators.”
      4          120.   On May 15, 2015, a Company B employee posing as a Backpage employee
      5   sent an email to an apparent prostitute. The subject line was “Offering Free Advertisement
      6   from Backpage.com” and the text of the email sought to persuade the prostitute to “upgrade
      7   your ad with sponsor placement or automatic repost.” In response, the prostitute wrote
      8   back that she had “managed to activate my ad and could buy credits as well. thanks for
      9   your help. I’m traveling today to [London] how can I change my location.” This email
    10    exchange was later forwarded by HYER to C.F. with a cover note stating: “[I]deal scenario
    11    for [Company B] agent – user activates ad, user purchases credit.”
    12           121.   On December 14, 2015, C.F. was part of an email exchange concerning an
    13    ad that had an IP address associated with Company B. This email contained the following
    14    description of Company B’s process for creating and selling prostitution ads on Backpage:
    15    (1) “Staff found lead in assigned area.” (2) “Staff entered all relevant into [database]
    16    (phone/email/etc.)” (3) “Staff called lead to discuss creation of free ad” (4) Staff created
    17    free ad for lead (verification email sent). (5) Staff followed under with an email reminding
    18    lead of phone conversation and detailing verification of ad.”
    19    E.     Select Victim Summaries
    20           122.   Between in or around 2009 and 2013, Victim 1 was sold for sex, through the
    21    use of Backpage ads, in Ohio, Indiana, and Georgia. Victim 1’s Backpage ads often
    22    included words and phrases that were indicative of prostitution, such as “roses” (money).
    23    On at least one occasion, Victim 1 contacted Backpage after a proposed ad had been
    24    rejected because it contained banned words and phrases.          In response, a Backpage
    25    representative coached Victim 1 on how to re-write the ad using different words. Victim
    26    1’s trafficker took all of the money that was earned through her acts of prostitution.
    27           123.   Between in or around 2009 and 2011, Victim 2 was sold for sex, through the
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      1   use of Backpage ads, in Arizona, Georgia, North Carolina, Texas, New York, New Jersey,
      2   and Louisiana. Victim 2’s trafficker drafted her Backpage ads and Victim 2 initially did
      3   not know she was being offered on Backpage. The ads contained words and phrases to
      4   make customers believe Victim 2 was “barely legal” and also contained words and phrases
      5   indicative of prostitution, such as “roses” (money).
      6          124.   Between in or around 2009 and 2012, Victim 3 was sold for sex, through the
      7   use of Backpage ads, in Colorado and North Dakota. Victim 3’s pimp instructed her to
      8   review existing prostitution ads on Backpage to learn how to draft her own ads. During a
      9   portion of this period, Victim 3 was required by her pimp to make week-long trips to North
    10    Dakota to work as a prostitute. During these trips, which would generate as much as $2,000
    11    in prostitution-derived revenue each day, Victim 3 was forced to leave her children at home
    12    in the care of her pimp.
    13           125.   In or around 2010, Victim 4 was sold for sex, through the use of Backpage
    14    ads, in Washington. During this period, Victim 4 was a juvenile (15 years old). Victim
    15    4’s pimp drafted the ads that were placed on Backpage. The wording of these ads was
    16    edited by Backpage before publication. The ads contained words and phrases such as
    17    “W’E’L’L_W’O’R’T’H_I’T***^***150HR” and “IT WONT TAKE LONG AT ALL”
    18    and included pictures of Victim 4 in provocative positions showing her breasts and
    19    buttocks.
    20           126.   Between in or around 2011 and 2016, Victim 5 was sold for sex, through the
    21    use of Backpage ads, in Massachusetts and Rhode Island. During much of this period,
    22    Victim 5 was a juvenile (14-19 years old). Victim 5’s female pimp instructed Victim 5
    23    that Backpage was the safest place to advertise because it did not require age verification.
    24    On one occasion, Backpage declined to accept a proposed ad that indicated Victim 5 was
    25    only 17 years old. In response, the ad was simply resubmitted with a new (false) age of
    26    19. On other occasions, Backpage removed provocative pictures of Victim 5 from ads and
    27    then allowed edited versions of the ads to be published. Victim 5’s Backpage ads included
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      1   words and phrases that were indicative of prostitution, such as “roses” (money) and “back
      2   door” (anal sex). Some of the customers who responded Victim 5’s Backpage ads forced
      3   Victim 5 to perform sexual acts at gun point, choked her to the point of having seizures,
      4   and gang-raped her.
      5           127.   In or around June 2012, Victim 6 was sold for sex, through the use of
      6   Backpage ads, in Arizona. Her traffickers utilized Backpage ads that did not offer a
      7   specific person but instead generally offered a woman with a particular type of hair color
      8   and build. On June 22, 2012, Victim 6 was dispatched to a customer who had responded
      9   to a Backpage ad featuring “Nadia,” who was described as a slender brunette woman.
    10    Upon her arrival at the location, Victim 6 was stabbed to death.
    11            128.   Between in or around 2012 and 2015, Victim 7 was sold for sex, through the
    12    use of Backpage ads, in Washington and Oregon. Victim 7’s pimp drafted the ads that
    13    were placed on Backpage. The wording of these ads was edited by Backpage before
    14    publication. The ads contained provocative nude pictures of Victim 7.
    15            129.   Between in or around 2013 and 2014, Victim 8 was sold for sex, through the
    16    use of Backpage ads, in Maine, Connecticut, and Massachusetts. During this period,
    17    Victim 8 was a juvenile (15 years old). Victim 8’s uncle, as well as his friends, placed the
    18    ads on Backpage, which included words and phrases that were indicative of prostitution,
    19    such as “roses” (money), “fetish friendly,” and 150 for 1/2 hour, 200 for full hour.
    20    Through these ads, Victim 8 was forced to do “in-calls” (where she was raped in hotels) as
    21    well as “out-calls” (where she was raped at other locations chosen by the men paying for
    22    her).
    23            130.   In or around 2013, Victim 9 was sold for sex, through the use of Backpage
    24    ads, in Florida. Victim 9’s pimp taught her how to use code words in her Backpage ads to
    25    indicate how much she was charging for certain sex acts. Victim 9 was brutally attacked
    26    by her trafficker, causing bruises and a fractured cheek bone.
    27            131.   Between in or around 2014 and 2015, Victim 10 was sold for sex, through
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      1   the use of Backpage ads, in California and Arizona. During some of this period, Victim
      2   10 was a juvenile (17 years old). An associate of Victim 10’s pimp took pictures of her
      3   and drafted the ads that were placed on Backpage. The Backpage ads contained words and
      4   phrases such as “NEW IN TOWN,” “sexy sweet,” and “sweet like honey but super hot like
      5   fire” and included pictures of Victim 10 in provocative positions showing her legs,
      6   stomach, shoulder, and buttocks.
      7          132.   Between in or around 2014 and 2015, Victim 11 was sold for sex, through
      8   the use of Backpage ads, in Arizona, Colorado, Minnesota, Oregon, California, Montana,
      9   Nevada, New Mexico, and Utah.          The Backpage ads contained words and phrases
    10    indicative of prostitution and included pictures of Victim 11 in provocative positions. On
    11    some occasions, Backpage would remove certain explicit photos from the ads but publish
    12    the remaining text and other photos. Victim 11’s trafficker gave her drugs, took her
    13    identification documents, sexually assaulted her with a firearm, and forced her to work full-
    14    time as a prostitute.
    15           133.   In or around 2015, Victim 12 was sold for sex, through the use of Backpage
    16    ads, in California and Arizona. Victim 12 was first advertised on Backpage in San
    17    Bernardino, California, but moved to the Phoenix metro area because the Super Bowl was
    18    being held there. Victim 12’s advertisements on Backpage contained words and phrases
    19    such as “New In Town” and “Sexy Dark Asian Bombshell with a Nice & Tight {Booty}”
    20    and included pictures showing Victim 12’s legs, stomach, shoulders and buttocks.
    21           134.   In or around 2015, Victim 13 was sold for sex, through the use of Backpage
    22    ads, in California. During this period, Victim 13 was a juvenile (15 years old). Victim 13
    23    and her trafficker both posted the Backpage ads, which falsely represented that Victim 13
    24    was 19 years old and showed pictures of her face and body. On at least one occasion, a
    25    Backpage representative contacted Victim 13 with instructions on how to fix an ad so it
    26    could be published.
    27           135.   In or around June 2015, Victim 14 was sold for sex, through the use of a
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      1   Backpage ad, in Texas. This ad contained words and phrases such as “fun, young, exotic,”
      2   “Ready to be your fantasy girl,” “OUT CALLS ONLY,” and “NO BLACK MEN” and
      3   included pictures of Victim 14’s stomach, breasts, shoulders, and buttocks. On or around
      4   June 20, 2015, Victim 14 was murdered by a customer. Afterward, the customer attempted
      5   to destroy Victim 14’s corpse by lighting it on fire. Victim 14’s father later contacted
      6   Backpage to request that the ads showing his deceased daughter be removed. Backpage
      7   did not immediately comply with this request.
      8          136.   In or around June 2015, Victim 15 was sold for sex, through the use of
      9   Backpage ads, in Texas and Louisiana. These ads contained words and phrases such as
    10    “Thick Glass of Chocolate Milk Looking for a GoodTime!!!” and “sexy certified freak”
    11    and contained pictures showing Victim 15’s legs, shoulders and buttocks. On June 10,
    12    2015, Victim 15 was forced into a vehicle with her trafficker, who was attempting to take
    13    her to Texas against her will. In an attempt to escape, Victim 15 jumped out of the vehicle
    14    onto Interstate 10 and was killed after being hit by several vehicles at high speeds.
    15           137.   In or around July and August 2015, Victim 16 was sold for sex, through the
    16    use of Backpage ads, in Michigan. These ads contained words and phrases such as
    17    “OUTCALLS ONLY,” “Juicy Caramel Lady On Duty,” “Sexy, Erotic Caramel Dream,”
    18    and “No Thugs, Pimps Or Weirdos” and contained pictures showing Victim 16’s breasts,
    19    legs, lips, buttocks, and face. On August 15, 2015, Victim 16 was murdered by a customer.
    20    Afterward, the customer dumped her corpse in a park.
    21           138.   Between in or around 2015 and 2016, Victim 17 was sold for sex, through
    22    the use of Backpage ads, in Arizona and California. Victim 17 averaged ten customers a
    23    day during this time and turned over all of her prostitution earnings (approximately $1,500
    24    per day) to her pimp. An associate of Victim 17’s pimp took pictures of her and drafted
    25    the ads that were placed on Backpage. The Backpage ads contained words and phrases
    26    such as “IN/CALLS ONLY,” “I’m here to make your wildest fantasies come true!” and
    27    “Sorry, but NO BLACK MEN” and included pictures of Victim 17’s buttocks and face.
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      1   F.     Money Laundering Activities
      2          139.   Backpage’s customers have overwhelmingly used the proceeds of criminal
      3   activity (i.e., money earned from pimping and prostitution) when purchasing ads on
      4   Backpage. In addition, because Backpage’s publication of such ads is an independent
      5   crime (e.g., violation of 18 U.S.C. § 1952), the fees it collects from customers posting
      6   prostitution ads—estimated at more than $500 million since 2004—constitute the proceeds
      7   of unlawful activity.
      8          140.   For these and other reasons, banks and financial institutions have repeatedly
      9   refused to do business with Backpage. In response, the BACKPAGE DEFENDANTS have
    10    pursued a variety of money laundering strategies. For example, on August 27, 2013, C.F.
    11    was forwarded an array of emails from Backpage customers who were complaining that
    12    their credit card companies had refused to process Backpage-related transactions. One
    13    customer wrote: “Have you resolved the issue of Chase Bank not honoring payment for
    14    you for ethical reasons?” C.F. forwarded these complaint emails to LARKIN, SPEAR, and
    15    BRUNST and proposed, as a “solution” to the problem, that Backpage reconfigure its
    16    website to fool credit card companies into believing the charges were being incurred on a
    17    different website.
    18           141.   During a November 2013 presentation by C.F. to LARKIN, SPEAR, and
    19    BRUNST, C.F. again discussed strategies for fooling credit card companies into believing
    20    that Backpage-associated charges were being incurred on different websites, including a
    21    proposal to set up shell companies without any apparent connection to Backpage (“create
    22    new companies with new principals”) and use their bank accounts to accept payment.
    23    Another “solution” was to “allow users to fund an account thru several other sites” that
    24    “have no adult or images.”
    25           142.   On November 6, 2013, LARKIN, SPEAR, and BRUNST received an email
    26    entitled “Options for the future of Backpage.” This email discussed various strategies for
    27    creating new entities to process Backpage-related payments “without ever disclosing ties
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      1   to Backpage.”
      2          143.   On April 1, 2015, BRUNST and C.F. were informed that Mastercard was
      3   “snooping around” Backpage and might stop processing payments for Backpage. In
      4   response, C.F. offered several suggestions for setting up new payment channels that would
      5   conceal Backpage’s involvement. One such proposal was to begin routing Backpage-
      6   related transactions through banks located in the country of Mauritius. In response,
      7   BRUNST stated: “Didnt we go down the Mauritius path once and the banks had the same
      8   issue with our content?”
      9          144.   Notwithstanding these strategies, the three major credit card companies
    10    stopped doing business with Backpage. On or about April 30, 2015, Backpage learned that
    11    American Express would no longer allow its cards to be used for any purchases in
    12    Backpage’s adult section. In or around July 2015, Backpage learned that Mastercard would
    13    no longer allow its cards to be used for Backpage-related transactions. When discussing
    14    this decision, MasterCard stated that it “has rules that prohibit our cards from being used
    15    for illegal activities.” Around the same time, Backpage learned that Visa would no longer
    16    allow its cards to be used for Backpage-related transactions.        When discussing this
    17    decision, Visa stated that its “rules prohibit our network from being used for illegal
    18    activity.”
    19           145.   Similarly, some banks closed accounts that were held by Backpage (or
    20    Backpage-related entities) out of concern the accounts were being used for illegal purposes.
    21    For example, on April 2, 2014, BRUNST received a letter from U.S. Bank that was
    22    addressed to “Backpage.com.” The letter explained: “Dear Jed . . . please be advised that
    23    we have elected to close your Account with us.”
    24           146.   Backpage responded to these developments in several ways. One was to
    25    encourage customers to send checks and money orders to a Post Office box held in the
    26    name of a seemingly-unrelated entity called Posting Solutions LLC (“Posting Solutions”)
    27    and give such customers a corresponding credit on Backpage. For example, on July 31,
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      1   2015, C.F. exchanged email correspondence with a representative from a payment
      2   processing company.      In this email, C.F. identified himself as the CEO of Posting
      3   Solutions, described Backpage as a “brand” operated by Posting Solutions, and explained
      4   he was seeking to “find a way to position payments under another company.”
      5          147.    The following episode provides an example of how the Posting Solutions
      6   payment process worked. On October 16, 2015, Backpage received an email from a
      7   customer complaining about her inability to pay for ads using a credit card. In response, a
      8   Backpage representative explained—in an email exchange later forwarded to VAUGHT—
      9   that “[i]f you would like to pay for upgrades or buy credits, we suggest posting with
    10    alternative payment methods such as Bitcoin. If you are in the United States, you can also
    11    pay by check or money order. Please make payable to ‘Posting Solutions.’ WE CAN
    12    ONLY ACCEPT CHECKS OR MONEY ORDERS MADE OUT TO ‘POSTING
    13    SOLUTIONS.’ Posting Solutions. Attn: Accounts. P.O. Box 192307. Dallas, TX 75219.
    14    Please send through the United States Postal Service. FedEx, UPS, or other mail delivery
    15    alternatives cannot deliver to a P.O. Box. When sending your payment please be sure to
    16    include your email address. Please do not make your payments out to backpage.com as we
    17    will no longer be able to accept them.”
    18           148.    Between around September 2015 and June 2016, over $7.1 million of checks
    19    and money orders sent by Backpage customers were deposited in bank accounts held by
    20    Posting Solutions.
    21           149.    Backpage also utilized a different entity, called Website Technologies, LLC
    22    (“Website Technologies”), to process Backpage-related funds and took steps to make it
    23    appear that Backpage and Website Technologies were independent entities. For example,
    24    on March 10, 2014, BRUNST, SPEAR, and others participated in an email exchange with
    25    the subject line “Website Technologies vs Backpage (Vendors, audits, risk assessments,
    26    email).” During this exchange, one person stated “[C.F.] and I were just discussing
    27    company       names   and   the   possibility   of   updating   our   email   addresses   to
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      1   websitetechnologies.com.” In response, BRUNST cautioned: “We need to think this thru
      2   or all the work to separate it from BP will be lost.” Similarly, on April 3, 2014, BRUNST
      3   sent an email to SPEAR and others explaining that “[b]y May 1 we will have to be out of
      4   US Bank. We will move all banking under Website Technologies at [a different bank,
      5   BMO Harris].”
      6          150.   In many instances, Backpage-related money that was initially deposited into
      7   accounts held by Posting Solutions was later transmitted to accounts held by Website
      8   Technologies. For example:
      9          •      On October 27, 2015, C.F. received an email entitled “Two packages coming
    10    your way! (Money Orders).” The email stated that two UPS packages filled with money
    11    orders were being sent—one containing $47,647.25 of money orders made out to Backpage
    12    and the other containing $52,251.48 of money orders made out to Posting Solutions.
    13           •      Similarly, on November 16, 2015, C.F. received an email entitled “Three
    14    packages sent today $441,408.69.” The email stated that three packages filled with money
    15    orders were being sent—one containing $129,193.61 of money orders made out to
    16    Backpage, another containing $244,353.63 of money orders made out to Posting Solutions,
    17    and the last containing an additional $67,861.75 of money orders made out to Posting
    18    Solutions.
    19           •      And again, on January 29, 2016, a Posting Solutions account wired $2.4
    20    million to a Website Technologies account. PADILLA and C.F. were both authorized
    21    signers on the recipient account.
    22           151.   In addition to receiving millions of dollars from Posting Solutions, the
    23    Website Technologies accounts also served as the repository for millions of dollars of wires
    24    from international bank accounts controlled by Backpage-associated entities. For example,
    25    between January 2015 and December 2016, Website Technologies accounts received over
    26    $45.4 million in wire transfers from Backpage-associated bank accounts in Liechtenstein,
    27    over $30.1 million in wire transfers from Backpage-associated bank accounts in Iceland,
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      1   and over $3.9 million in wire transfers from Backpage-associated bank accounts in the
      2   Netherlands.
      3          152.    In many instances, the next stage of the money-laundering process was for
      4   money to be wired from Website Technologies accounts to bank accounts held by a
      5   different entity called Cereus Properties LLC (“Cereus Properties”). The authorized
      6   signers on the Cereus Properties accounts included SPEAR and BRUNST. Between
      7   around December 2015 and October 2016, Website Technologies accounts sent wire
      8   transfers totaling over $47 million to accounts held by Cereus Properties.
      9          153.    Accounts held by Cereus Properties also received money directly from
    10    international bank accounts controlled by Backpage-associated entities. For example,
    11    between around August 2016 and November 2016, Cereus Properties accounts received
    12    over $11.3 million in deposits and wire transfers from Backpage-associated accounts in the
    13    Netherlands.
    14           154.    After money reached Cereus Properties, large portions of it were funneled
    15    back to Backpage or to certain BACKPAGE DEFENDANTS. For example, between
    16    January 2016 and January 2017, LACEY (and LACEY’s family members) received
    17    distributions totaling over $30.3 million and LARKIN separately received distributions
    18    totaling over $21 million.
    19           155.    Backpage also furthered its money laundering efforts through the use of
    20    bitcoin processing companies. Over time, Backpage utilized companies such as CoinBase,
    21    GoCoin, Paxful, Kraken, and Crypto Capital to receive payments from customers and/or
    22    route money through the accounts of related companies.
    23           156.    Backpage also furthered its money laundering efforts by developing ways for
    24    customers to purchase ads using gift cards issued by third-party vendors. This process was
    25    described in a July 23, 2015, email exchange between various Backpage employees on
    26    which HYER and others were copied. This exchange included the following: “[W]hat if
    27    we used a customers [sic] payment method, say visa prepaid card, to buy [bitcoin] from
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      1   our seller account . . . giving said bitcoin to our catch-all wallet elsewhere (instead of to
      2   user), simultaneously adding credits/purchasing paid ad or upsells? From the user’s
      3   perspective they just input their prepaid card and get their credits or purchase.”
      4                                                COUNT 1
      5                                            (Conspiracy)
      6             157.   The factual allegations in Paragraphs 1-156 are incorporated by reference
      7   and re-alleged as though fully set forth herein.
      8             158.   Beginning in or around 2004, and continuing through the present, in the
      9   District of Arizona and elsewhere, defendants LACEY, LARKIN, SPEAR, HYER,
    10    PADILLA, and VAUGHT, and others known and unknown to the grand jury, knowingly
    11    and intentionally agreed, confederated, and conspired with each other, and with others
    12    known and unknown to the grand jury, to commit the following offenses against the United
    13    States:
    14                     a.    18 U.S.C. § 1952(a)(3)(A) (Travel Act—Facilitate Prostitution).
    15                                 OBJECT OF THE CONSPIRACY
    16              159.   The object of the conspiracy was to obtain money.
    17                          MANNER AND MEANS OF THE CONSPIRACY
    18              160.   The manner and means of the conspiracy are described in paragraphs 1-156
    19    above, incorporated by reference and re-alleged as though fully set forth herein.
    20                                            OVERT ACTS
    21              161.   Overt acts were committed in furtherance of the conspiracy, including but
    22    not limited to those described in paragraphs 1-156 above, incorporated by reference and
    23    re-alleged as though fully set forth herein.
    24              In violation of 18 U.S.C. § 371.
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      1                                         COUNTS 2-51
      2                              (Travel Act—Facilitate Prostitution)
      3          162.   The factual allegations in Paragraphs 1-161 are incorporated by reference
      4   and re-alleged as though fully set forth herein.
      5          163.   On or about the dates set forth below, each instance constituting a separate
      6   count of this Indictment, in the District of Arizona and elsewhere, defendants LACEY,
      7   LARKIN, SPEAR, HYER, PADILLA, and VAUGHT, and others known and unknown to
      8   the grand jury, used the mail and any facility in interstate and foreign commerce with intent
      9   to otherwise promote, manage, establish, carry on, and facilitate the promotion,
    10    management, establishment, and carrying on of an unlawful activity, to wit: prostitution
    11    offenses in violation of the laws of the State in which they are committed and of the United
    12    States, including but not limited to Title 13, Arizona Revised Statutes, Section 13-3214,
    13    and thereafter performed and attempted to perform an act that did promote, manage,
    14    establish, carry on, and facilitate the promotion, management, establishment, and carrying
    15    on of the unlawful activity, as follows:
    16
    17     Count Date                 Description
    18     2.       Sept. 10, 2013    Publish ad depicting Victim 5 entitled “Get freaky Tuesday .
    19                                . Come spend ur day with us – 19,” with accompanying text
    20                                “Doin incalls and outcalls”
    21     3.       Jan. 27, 2014     Publish ad involving P.R. entitled “50 Red R*O*S*E*S
    22                                S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
    23     4.       Jan. 29, 2014     Publish ad depicting Victim 8 entitled “Puerto Rican mami in
    24                                walpole area INCALLS –19” after deleting one picture from
    25                                the originally-submitted ad
    26     5.       Jan. 31, 2014     Publish ad depicting Victim 8 entitled “Exotic latina, south
    27                                portland area, ready to play, INCALLS, 30 min specials!!! –
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      1                           19” after deleting one picture from the originally-submitted
      2                           ad
      3    6.     Feb. 6, 2014    Publish ad involving P.R. entitled “75 Red R*O*S*E*S
      4                           S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
      5    7.     Apr. 20, 2014   Publish ad involving P.R. entitled “50 Red R*O*S*E*S
      6                           S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
      7    8.     May 7, 2014     Publish ad involving P.R. entitled “50 Red R*O*S*E*S
      8                           S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
      9    9.     May 31, 2014    Publish ad involving P.R. entitled “50 Red R*O*S*E*S
    10                            S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
    11     10.    July 1, 2014    Publish ad involving P.R. entitled “50 Red R*O*S*E*S
    12                            S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
    13     11.    Aug. 19, 2014   Publish ad involving P.R. entitled “50 Red R*O*S*E*S
    14                            S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
    15     12.    Nov. 23, 2014   Publish ad depicting Victim 10 entitled “New in Town Super
    16                            Hot Skinny Mixed Cuban Girl With Long Black Hair – 18”
    17                            after deleting picture from originally-submitted ad
    18     13.    Jan. 29, 2015   Publish ad depicting Victim 12 entitled “New in Town Sexy
    19                            Dark Asain Bombshell with a Nice & Tight {Booty} – 23”
    20                            after deleting one picture from the originally-submitted ad
    21     14.    Jan. 31, 2015   Publish ad depicting Victim 10 entitled “NEW IN TOWN
    22                            sexy sweet European mixed Cuban California girl – 21”
    23     15.    Jan. 31, 2015   Publish ad depicting Victim 12 entitled “New in Town Sexy
    24                            Dark Asian mixed Bombshell – 23” after deleting one picture
    25                            from the originally-submitted ad
    26     16.    Feb. 4, 2015    Publish ad depicting Victim 11 entitled “Upscale Independent
    27
                                  BRUNETTE BOMBSHELL 5-Star Fantasy – 26,” after
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    1                            deleting pictures from originally-submitted ad
    2    17.     Feb. 18, 2015   Publish ad depicting Victim 11 entitled “Alexis Foxx the
    3                            HOTTEST in town!!!!! – 26,” after deleting six pictures from
    4                            the originally-submitted ad
    5    18.     Feb. 26, 2015   Publish ad involving P.R. entitled “50 Red R*O*S*E*S
    6                            S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
    7    19.     May 18, 2015    Publish ad depicting Victim 15 entitled “GORGEOUS ebony
    8                            PLAYMATE Perfect Curves…Skills to make ur TOES
    9                            CURL – 19,” after removing one picture of originally-
   10                            submitted ad, with accompanying text “you agree . . . you are
   11                            not affiliated with any law enforcement agency” and “Incalls
   12                            & Outcall!!!”
   13    20.     May 19, 2015    Publish ad depicting Victim 15 entitled “Hot & Driping
   14                            Submissive Ebony Playmates – 20,” after removing one
   15                            picture of originally-submitted ad, with accompanying text
   16                            “you agree . . . you are not affiliated with any law enforcement
   17                            agency” and “We’re ready to please and accommodate all of
   18                            your needs and wants!! With a mouth that’ll ROCK your []
   19                            and a [picture of cat] that’ll leave you purring for more”
   20    21.     July 1, 2015    Publish ad depicting Victim 17 entitled “AbSoLuTeLy
   21                            AmAziNg CoMe PLaY WiTh Me #1 MoST WaNtEd SwEeT
   22                            SEXii PlAymate – 20,” with accompanying text “By
   23                            contacting me you agree that you are not affiliated with any
   24                            form of law enforcement,” PERFECT & Will satisfy your
   25                            every need,” and “IN/CALLS – ONLY”
   26    22.     July 2, 2015    Publish ad depicting Victim 17 entitled “SeXy!! Exotic
   27                            playmate Call me! the girl you NEED to See! – 20,” with
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    1                             accompanying text “I DO NOT OFFER 40$, 50$, 60$
    2                             SPECIALS” and “IN/CALLS – ONLY”
    3    23.     Aug. 13, 2015    Publish ad depicting Victim 13 entitled “Young SEXY
    4                             PUERTO RICAN – 19,” which accompanying text “I do half
    5                             hour sessions that vary in donation prices, 80 for head, 120
    6                             for hooking up without head and 150 for hooking up with
    7                             head”
    8    24.     Aug. 15, 2015    Publish ad depicting Victim 16 entitled “Outcalls Now
    9                             Freaky Curvy Caramel Lady OUTCALLS NOW – 23”
   10    25.     Sept. 13, 2015   Publish ad involving P.R. entitled “50 Red R*O*S*E*S
   11                             S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
   12    26.     Nov. 28, 2015    Publish ad involving P.R. entitled “50 Red R*O*S*E*S
   13                             S*P*E*C*I*A*L - DONT MISS OUT!!!!!”
   14    27.     Apr. 21, 2016    Publish ad entitled “Finally!! PSE & GFE – Kimber Rae and
   15                             MIA Marie Together BOOK NOW”
   16    28.     Nov. 3, 2016     Publish ad entitled “GFEE New – 18”
   17    29.     Nov. 11, 2016    Publish ad entitled “Mind blowing Tiffany. Incall in Taunton
   18                             – 37,” with accompanying text “Soft GFE . . . Im real and
   19                             reviewed”
   20    30.     Nov. 14, 2016    Publish ad entitled “Top Model 2016 Special ‘Best Looking
   21                             Young Asian’ . . . – 22,” with accompanying text “Sexy Asian
   22                             Girl Incall Service” and “GFE”
   23    31.     Nov. 14, 2016    Publish ad entitled “Sometimes It’s All About The Journey,
   24                             And The Destination…..Erectile Dysfunctional G F E
   25                             Provider – 44,” with accompanying test “You can find a few
   26                             current reviews at T3R xxxxxx#” and “I have been EROS
   27                             authenticated”
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    1    32.     Nov. 19, 2016   Publish ad entitled “The True (G)irl (F)riend (E)xperience…
    2                            Visiting November 27th Sunday ~ PRE-BOOKING
    3                            SPECIAL ~ - 100,” with accompanying text “Let’s blur
    4                            restrictions between financial transaction & Romantic
    5                            Connection”
    6    33.     Nov. 24, 2016   Publish ad entitled “Top Asian Grand Opening 100% Young
    7                            100% Sexy . . . – 23,” with accompanying text “BEST
    8                            INCALL IN TOWN!” and “GFE”
    9    34.     Nov. 26, 2016   Publish ad entitled “I LOVE MEN!! I’m a GFE. OutCall and
   10                            Incall with exception on the Incall!! – 42”
   11    35.     Dec. 20, 2016   Publish ad entitled “OMG          Sexy Sensual 36DD-24-36
   12                            Stacked College Coed With The Best Mouth Ever! BOOK
   13                            NOW! -24,” with accompanying text “I do ALL the things
   14                            YOU Wish Your Wife Did!!” and “(G).(F).(E) 30 min/$180”
   15    36.     Jan. 15, 2017   Publish   ad   entitled   “Real    &   Reviewed   Girlfriend
   16                            Theonesweet.weebly.com – 30,” with accompanying text
   17                            “250 G F E”
   18    37.     Apr. 4, 2017    Publish ad entitled “KISSING & GFE KOREAN GIRLS –
   19                            20”
   20    38.     Apr. 11, 2017   Publish ad entitled “Pettit Sexy #Corey# 4407239339 – 39,”
   21                            with accompanying text “complete GFE experience”
   22    39.     July 3, 2017    Publish ad entitled “WANNA HANG OUT NOW UpScale
   23                            New In Town! Call ME now for an unforgettable visit – 20,”
   24                            with accompanying text “100% GFE with 100% no Pimps”
   25    40.     July 15, 2017   Publish ad entitled “Ready for some fun daddy? This is your
   26                            chance too have a amazing time - 21,” with accompanying
   27                            text “Slim body, nice tits, freaky, GFE”
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    1    41.      July 15, 2017    Publish ad entitled “New in town BiGBubble Booty
    2                              SWEETLiPS HOT BODY – 24,” with “GFE” in
    3                              accompanying text
    4    42.      July 21, 2017    Publish ad entitled “Pettit Sexy #Corey# 4407239339 – 30,”
    5                              with accompanying text “complete GFE experience”
    6    43.      July 23, 2017    Publish ad entitled “ASIAN GODDESS young – 20,” with
    7                              accompanying text “100% Discreet service” and “#GFE”
    8    44.      Jan. 26, 2018    Publish ad entitled “GFE Service Available!               Private
    9                              Encounters w/ Pampering Beauty”
   10    45.      Jan. 30, 2018    Publish ad entitled “241 & white plans area Carfun Perfect
   11                              Treat     Available No Rush,” with “Sweet Sexy GFE” in
   12                              accompanying text
   13    46.      Jan. 30, 2018    Publish ad entitled “GFE REAL HOT Sweet DREAM
   14                              AMAZING BEST RELAX”
   15    47.      Jan. 30, 2018    Publish ad entitled “Tall, Slim & Sexy Luxe Goddess *
   16                              NARCISA * Sensual Body Rub + Fetish Sessions,” with
   17                              accompanying text “gfe Hh: $160 H: $220”
   18    48.      Jan. 31, 2018    Publish     ad    entitled   “Exotic   Asian   Beauty,”     with
   19                              accompanying text “I am an independent GFE with excellent
   20                              massage skills”
   21    49.      Feb. 1, 2018     Publish ad entitled “Nuru (Best GFE ever) incall only”
   22    50.      Feb. 6, 2018     Publish ad entitled “Tuesday with Ashleigh. Available now,”
   23                              with “GFE” in accompanying text
   24    51.      Feb. 6, 2018     Publish ad entitled “GFE Kisskisspop 100% Real Photo
   25                              Choice 9Asian girl Nurunude”
   26          In violation of 18 U.S.C. § 1952(a)(3)(A) and (b)(1)(i).
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    1                                           COUNT 52
    2                        (Conspiracy To Commit Money Laundering)
    3          164.   The factual allegations in Paragraphs 1-163 are incorporated by reference
    4   and re-alleged as though fully set forth herein.
    5          165.   Beginning in or around 2004, and continuing through the present, in the
    6   District of Arizona and elsewhere, defendants LACEY, LARKIN, SPEAR, BRUNST, and
    7   HYER, and others known and unknown to the grand jury, knowingly and intentionally
    8   agreed, confederated, and conspired with each other, and with others known and unknown
    9   to the grand jury, to commit the following offenses against the United States:
   10                 a.     18 U.S.C. § 1956(a)(1)(A)(i) (Promotional Money Laundering)
   11                 b.     18 U.S.C. § 1956(a)(1)(B)(i) (Concealment Money Laundering)
   12                 c.     18 U.S.C. § 1956(a)(2)(A) (Int’l Promotional Money Laundering)
   13                 d.     18 U.S.C. § 1956(a)(2)(B)(i) (Int’l Concealment Money Laundering)
   14                 e.     18 U.S.C. § 1597 (Transactional Money Laundering)
   15          In violation of 18 U.S.C. § 1956(h).
   16                                        COUNTS 53-62
   17                              (Concealment Money Laundering)
   18          166.   The factual allegations in Paragraphs 1-165 are incorporated by reference
   19   and re-alleged as though fully set forth herein.
   20          167.   On or about the dates set forth below, each instance constituting a separate
   21   count of this Indictment, in the District of Arizona and elsewhere, defendants LACEY,
   22   LARKIN, SPEAR, BRUNST, and HYER, and others known and unknown to the grand
   23   jury, knowing that the property involved in a financial transaction represented the proceeds
   24   of some form of unlawful activity, conducted and attempted to conduct such a financial
   25   transaction which in fact involved the proceeds of specified unlawful activity knowing that
   26   the transaction was designed in whole and in part to conceal and disguise the nature, the
   27   location, the source, the ownership, and the control of the proceeds of the specified
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    1   unlawful activity, as follows:
    2    Count Date                 Amount          Description
    3    53.      May 18, 2016      $1,476,505.00 Website Technologies (x2008) to Cereus
    4                                               Properties (x6211)
    5    54.      May 18, 2016      $264,438.00     Website Technologies (x2008) to Cereus
    6                                               Properties (x6211)
    7    55.      May 31, 2016      $3,171,675.80 Website Technologies (x2008) to Cereus
    8                                               Properties (x6211)
    9    56.      May 31, 2016      $432,961.87     Website Technologies (x2008) to Cereus
   10                                               Properties (x6211)
   11    57.      June 20, 2016     $842,878.00     Website Technologies (x2008) to Cereus
   12                                               Properties (x6211)
   13    58.      June 30, 2016     $3,076,147.75 Website Technologies (x2008) to Cereus
   14                                               Properties (x6211)
   15    59.      July 27, 2016     $3,252,681.62 Website Technologies (x2008) to Cereus
   16                                               Properties (x6211)
   17    60.      July 27, 2016     $438,818.86     Website Technologies (x2008) to Cereus
   18                                               Properties (x6211)
   19    61.      Aug. 16, 2016     $804,250.00     Website Technologies (x2008) to Cereus
   20                                               Properties (x6211)
   21    62.      Aug. 31, 2016     $3,171,264.42 Website Technologies (x2008) to Cereus
   22                                               Properties (x6211)
   23          In violation of 18 U.S.C. § 1956(a)(1)(B)(i).
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    1                                        COUNTS 63-68
    2                       (International Promotional Money Laundering)
    3          168.   The factual allegations in Paragraphs 1-167 are incorporated by reference
    4   and re-alleged as though fully set forth herein.
    5          169.   On or about the dates set forth below, each instance constituting a separate
    6   count of this Indictment, in the District of Arizona and elsewhere, defendants LACEY,
    7   LARKIN, SPEAR, BRUNST, and HYER, and others known and unknown to the grand
    8   jury, transported, transmitted, and transferred, and attempted to transport, transmit, and
    9   transfer, a monetary instrument and funds from a place in the United States to and through
   10   a place outside the United States, and to a place in the United States from and through a
   11   place outside the United States, with the intent to promote the carrying on of specified
   12   unlawful activity, as follows:
   13    Count Date                 Amount            Description
   14    63.      Mar. 4, 2014      $6,450.00         U.S. Bank (x1165) to S.B. (web developer
   15                                                 in India)
   16    64.      Aug. 5, 2016      $5,005,732.86     Ad Tech B.V. (Netherlands) to Cereus
   17                                                 Properties (x6211)
   18    65.      Sept, 22, 2016    $2,916,955.00     Ad Tech B.V. (Netherlands) to Cereus
   19                                                 Properties (x6211)
   20    66.      Oct. 3, 2016      $354,050.84       Ad Tech B.V. (Netherlands) to Cereus
   21                                                 Properties (x6211)
   22    67.      Nov. 2, 2016      $2,726,170.00     Ad Tech B.V. (Netherlands) to Cereus
   23                                                 Properties (x6211)
   24    68.      Nov. 15, 2016     $351,403.54       Ad Tech B.V. (Netherlands) to Cereus
   25                                                 Properties (x6211)
   26          In violation of 18 U.S.C. § 1956(a)(2)(A).
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    1                                         COUNTS 69-93
    2                              (Transactional Money Laundering)
    3          170.   The factual allegations in Paragraphs 1-169 are incorporated by reference
    4   and re-alleged as though fully set forth herein.
    5          171.   On or about the dates set forth below, each instance constituting a separate
    6   count of this Indictment, in the United States and in the District of Arizona and elsewhere,
    7   the specified defendant, and others known and unknown to the grand jury, knowingly
    8   engaged and attempted to engage in a monetary transaction in criminally derived property
    9   of a value greater than $10,000 and is derived from specified unlawful activity, as follows:
   10    Count Defendant Date                   Amount            Description
   11    69.      LACEY,       Aug.        21, $30,000.00         Bank of America (x1793) to
   12             BRUNST       2013                               Stewart Title (partial payment
   13                                                             for Sedona property)
   14    70.      LACEY,       Sept.       13, $62,491.47         BMO Harris to Stewart Title
   15             BRUNST       2013                               (partial payment for Sedona
   16                                                             property)
   17    71.      SPEAR        June 11, 2014 $300,000.00          National     Bank   of   Arizona
   18                                                             (x0178) to Spear Family Trust
   19    72.      SPEAR        June 20, 2014 $200,000.00          National     Bank   of   Arizona
   20                                                             (x0178) to TD Ameritrade
   21    73.      SPEAR        Nov. 4, 2014     $1,000,000.00     National     Bank   of   Arizona
   22                                                             (x0178) to UBS Financial
   23    74.      SPEAR        May 14, 2015 $250,000.00           National     Bank   of   Arizona
   24                                                             (x0178) to Lincoln National
   25                                                             Life
   26    75.      SPEAR        May 26, 2015 $50,000.00            National     Bank   of   Arizona
   27                                                             (x0178) to Industrial Property
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    1                                                       Trust
    2    76.     SPEAR      Nov. 3, 2015    $300,000.00     National    Bank    of   Arizona
    3                                                       (x0178) to Ally Bank
    4    77.     SPEAR      Dec. 1, 2015    $200,000.00     National    Bank    of   Arizona
    5                                                       (x0178) to Wells Fargo
    6    78.     SPEAR,     Jan. 11, 2016   $133,045.00     Cereus Properties (x6211) to
    7            BRUNST                                     National    Bank    of   Arizona
    8                                                       (x0178)
    9    79.     BRUNST     Jan. 26, 2016   $101,974.00     Cereus Properties (x6211) to
   10                                                       Wells Fargo (x4891)
   11    80.     LARKIN,    Feb. 3, 2016    $1,507.944.00   Cereus Properties (x6211) to
   12            BRUNST                                     Charles Schwab
   13    81.     LACEY,     Mar. 1, 2016    $1,692,020.00   Cereus Properties (x6211) to
   14            BRUNST                                     Bank of America (x5554)
   15    82.     BRUNST     Apr. 1, 2016    $220,944.00     Cereus Properties (x6211) to
   16                                                       Wells Fargo (x4891)
   17    83.     LACEY,     June 27, 2016 $397,9500.00      Arizona Bank & Trust (x1793)
   18            BRUNST                                     to Fidelity Title (partial payment
   19                                                       for San Francisco property)
   20    84.     LACEY,     July 20, 2016   $12,859,152.57 Arizona Bank & Trust (x1793)
   21            BRUNST                                     to Fidelity Title (partial payment
   22                                                       for San Francisco property)
   23    85.     SPEAR      July 22, 2016   $50,000.00      National    Bank    of   Arizona
   24                                                       (x0178) to Strategic Storage
   25                                                       Trust II
   26    86.     LACEY,     Aug. 2, 2016    $16,243.00      Cereus Properties (x6211) to
   27
                 BRUNST                                     Wells Fargo (x0495)
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    1    87.     LARKIN,       Oct. 6, 2016    $1,206,356.00   Cereus Properties (x6211) to
    2            BRUNST                                        Charles Schwab (x4693)
    3    88.     LACEY,        Oct. 6, 2016    $268,016.00     Cereus Properties (x6211) to
    4            BRUNST                                        Arizona Bank & Trust (x1967)
    5    89.     LACEY,        Oct. 6, 2016    $268,016.00     Cereus Properties (x6211) to
    6            BRUNST                                        Arizona Bank & Trust (x1972)
    7    90.     LACEY,        Oct. 6, 2016    $268,016.00     Cereus Properties (x6211) to
    8            BRUNST                                        Arizona Bank & Trust (x1986)
    9    91.     LACEY,        Oct. 6, 2016    $268,016.00     Cereus Properties (x6211) to
   10            BRUNST                                        Arizona Bank & Trust (x1991)
   11    92.     LACEY,        Oct. 6, 2016    $268,016.00     Cereus Properties (x6211) to
   12            BRUNST                                        Arizona Bank & Trust (x2014)
   13    93.     SPEAR,        Oct. 6, 2016    $141,444.00     Cereus Properties (x6211) to
   14            BRUNST                                        National    Bank   of   Arizona
   15                                                          (x0178)
   16          In violation of 18 U.S.C. § 1957.
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    1                               FORFEITURE ALLEGATION ONE
    2                           [18 U.S.C. 981(a)(1)(C) and 28 U.S.C. § 2461(c)]
    3             1.      Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, notice is
    4   hereby given that the United States will seek forfeiture as part of any sentence, pursuant to
    5   Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,
    6   Section 2461(c), in the event of any defendant’s conviction under Counts 1 through 51 of
    7   this Indictment. Each defendant so convicted shall forfeit to the United States the
    8   following:
    9                     a.    All right, title, and interest in any and all property, real or personal,
   10   constituting, or derived from, any proceeds obtained, directly or indirectly, as a result of
   11   the offense. Such property includes, but is not limited to, the real property located at the
   12   following addresses:
   13        i.    1100 UNION ST #0700 SAN FRANCISCO CA 94109-2019
   14       ii.    2043 PLEASANT HILL RD SEBASTOPOL CA 95472-4947
   15      iii.    343 PRESIDIO AVE, SAN FRANCISCO, CA 94115
   16      iv.     2755 FILLMORE ST, SAN FRANCISCO, CA 94123
   17       v.     5300 STELLA LANE, PARADISE VALLEY, AZ 85253
   18      vi.     16901 COLEGROVE DR., DALLAS, TX 75248
   19     vii.     10647 NORTH STATE ROUTE 89A, SEDONA, AZ
   20     viii.    493 ZINFANDEL LN, ST HELENA, CA 94574
   21      ix.     5555 N. CASA BLANCA DR, PARADISE VALLEY, AZ 85253
   22       x.         1308 E. 56TH ST UNIT 2, CHICAGO, IL 60637
   23   Such property also includes, but is not limited to, funds held in the following bank
   24   accounts:
   25        i.    Prosperity Bank account number XXXXX7188
   26       ii.    Compass Bank Account number XXXXXX3873
   27      iii.    Compass Bank Account number XXXXXX3825
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    1      iv.    National Bank of Arizona Account number XXXX0178
    2       v.    National Bank of Arizona Account number XXXX0151
    3      vi.    National Bank of Arizona Account number XXXX3645
    4     vii.    Live Oak Bank Account Number XXXXXXXXXX2523
    5     viii.   Ascensus Broker Dealer Services Account Number XXXXX6943-01
    6      ix.    Ascensus Broker Dealer Services account Number XXXXX5280-01
    7       x.    First Federal Savings & Loan of San Rafael account number XXXX3620
    8      xi.    Republic Bank of Arizona account number XXXX1889
    9     xii.    Republic Bank of Arizona account number XXXX2592
   10     xiii.   Republic Bank of Arizona account number XXXX2912
   11     xiv.    Republic Bank of Arizona account number XXXX2500
   12      xv.    Republic Bank of Arizona account number XXXX1938
   13     xvi.    Bank of America Account number XXXXXXXXXXXX8225
   14    xvii.    Bank of America Account number XXXXXXXXXXXX7054
   15   xviii.    Bank of America Account number XXXXXXXXXXXX9342
   16     xix.    Bank of America Account number XXXXXXXXXXXX0071
   17      xx.    San Francisco Fire Credit Union Account Number XXXXXXXXXX2523
   18     xxi.    Ally Bank Account Number XXXXXX6292
   19    xxii.    Branch Banking and Trust Bank account number XXXXXXXXX0218
   20   xxiii.    Green Bank Account number XXX4832
   21    xxiv.    Green Bank Account number XXXXXX4293
   22    xxv.     Plains Capital Bank account number XXXXXX1098
   23   Such property further includes, but is not limited to, the following domain names:
   24        i.   atlantabackpage.com
   25       ii.   backpage.be
   26      iii.   backpage.com
   27      iv.    backpage.com.br
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    1       v.    backpage.cz
    2      vi.    backpage.dk
    3     vii.    backpage.ee
    4     viii.   backpage.es
    5      ix.    backpage.fi
    6       x.    backpage.fr
    7      xi.    backpage.gr
    8     xii.    backpage.hu
    9     xiii.   backpage.ie
   10     xiv.    backpage.it
   11      xv.    backpage.lt
   12     xvi.    backpage.mx
   13    xvii.    backpage.net
   14   xviii.    backpage.no
   15     xix.    backpage.pl
   16      xx.    backpage.pt
   17     xxi.    backpage.ro
   18    xxii.    backpage.si
   19   xxiii.    backpage.sk
   20    xxiv.    backpage.us
   21    xxv.     backpage-insider.com
   22    xxvi.    bestofbackpage.com
   23   xxvii.    bestofbigcity.com
   24 xxviii.     bigcity.com
   25    xxix.    chicagobackpage.com
   26    xxx.     denverbackpage.com
   27    xxxi.    newyorkbackpage.com
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    1   xxxii.     phoenixbackpage.com
    2 xxxiii.      sandiegobackpage.com
    3   xxxiv.     seattlebackpage.com
    4   xxxv.      tampabackpage.com
    5                  b.       To the extent such property is not available for forfeiture, a sum of
    6    money equal to the total value of the property described in subparagraph (a).
    7             2.   Pursuant to Title 21, United States Code, Section 853(p), as incorporated by
    8    Title 28, United States Code, Section 2461(c), the defendant shall forfeit substitute
    9    property, up to the total value of the property described in the preceding paragraph if, as
   10    the result of any act or omission of the defendant, the property described in the preceding
   11    paragraph, or any portion thereof: (a) cannot be located upon the exercise of due diligence;
   12    (b) has been transferred, sold to or deposited with a third party; (c) has been placed beyond
   13    the jurisdiction of the court; (d) has been substantially diminished in value; or (e) has been
   14    commingled with other property that cannot be divided without difficulty.
   15                               FORFEITURE ALLEGATION TWO
   16                                       [18 U.S.C. § 982(a)(1)]
   17             1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, notice is
   18    hereby given that the United States will seek forfeiture as part of any sentence, pursuant
   19    Title 18, United States Code, Section 982(a)(1), in the event of any defendant’s conviction
   20    under Counts 52 through 93 of this Indictment. Each defendant so convicted shall forfeit
   21    to the United States the following:
   22
                       a.       All right, title, and interest in any and all property, real or personal,
   23
         involved in or traceable to any transaction set forth in Counts 52 through 93 of this
   24
         Indictment. Such property includes, but is not limited to, the real property located at the
   25
         following addresses:
   26
             i.    1100 UNION ST #0700 SAN FRANCISCO CA 94109-2019
   27
            ii.    2043 PLEASANT HILL RD SEBASTOPOL CA 95472-4947
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    1      iii.    343 PRESIDIO AVE, SAN FRANCISCO, CA 94115
    2      iv.     2755 FILLMORE ST, SAN FRANCISCO, CA 94123
    3       v.     5300 STELLA LANE, PARADISE VALLEY, AZ 85253
    4      vi.     16901 COLEGROVE DR., DALLAS, TX 75248
    5     vii.     10647 NORTH STATE ROUTE 89A, SEDONA, AZ
    6     viii.    493 ZINFANDEL LN, ST HELENA, CA 94574
    7
           ix.     5555 N. CASA BLANCA DR, PARADISE VALLEY, AZ 85253
    8
            x.     1308 E. 56TH ST UNIT 2, CHICAGO, IL 60637
    9
        Such property also includes, but is not limited to, funds held in the following bank
   10
        accounts:
   11
           i.     Prosperity Bank account number XXXXX7188
   12
            ii.    Compass Bank Account number XXXXXX3873
   13
           iii.    Compass Bank Account number XXXXXX3825
   14
           iv.     National Bank of Arizona Account number XXXX0178
   15
            v.     National Bank of Arizona Account number XXXX0151
   16
           vi.     National Bank of Arizona Account number XXXX3645
   17
   18     vii.     Live Oak Bank Account Number XXXXXXXXXX2523

   19     viii.    Ascensus Broker Dealer Services Account Number XXXXX6943-01

   20      ix.     Ascensus Broker Dealer Services account Number XXXXX5280-01

   21       x.     First Federal Savings & Loan of San Rafael account number XXXX3620
   22      xi.     Republic Bank of Arizona account number XXXX1889
   23     xii.     Republic Bank of Arizona account number XXXX2592
   24     xiii.    Republic Bank of Arizona account number XXXX2912
   25     xiv.     Republic Bank of Arizona account number XXXX2500
   26      xv.     Republic Bank of Arizona account number XXXX1938
   27     xvi.     Bank of America Account number XXXXXXXXXXXX8225
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    1    xvii.       Bank of America Account number XXXXXXXXXXXX7054
    2   xviii.       Bank of America Account number XXXXXXXXXXXX9342
    3     xix.       Bank of America Account number XXXXXXXXXXXX0071
    4      xx.       San Francisco Fire Credit Union Account Number XXXXXXXXXX2523
    5     xxi.       Ally Bank Account Number XXXXXX6292
    6    xxii.       Branch Banking and Trust Bank account number XXXXXXXXX0218
    7
        xxiii.       Green Bank Account number XXX4832
    8
         xxiv.       Green Bank Account number XXXXXX4293
    9
        xxv.        Plains Capital Bank account number XXXXXX1098
   10
        Such property further includes, but is not limited to, the following domain names:
   11
               i.    atlantabackpage.com
   12
            ii.      backpage.be
   13
           iii.      backpage.com
   14
           iv.       backpage.com.br
   15
            v.       backpage.cz
   16
           vi.       backpage.dk
   17
   18     vii.       backpage.ee

   19     viii.      backpage.es

   20      ix.       backpage.fi

   21       x.       backpage.fr
   22      xi.       backpage.gr
   23     xii.       backpage.hu
   24     xiii.      backpage.ie
   25     xiv.       backpage.it
   26      xv.       backpage.lt
   27     xvi.       backpage.mx
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    1     xvii.    backpage.net
    2    xviii.    backpage.no
    3     xix.     backpage.pl
    4      xx.     backpage.pt
    5     xxi.     backpage.ro
    6     xxii.    backpage.si
    7
         xxiii.    backpage.sk
    8
         xxiv.     backpage.us
    9
          xxv.     backpage-insider.com
   10
         xxvi.     bestofbackpage.com
   11
        xxvii.     bestofbigcity.com
   12
        xxviii.    bigcity.com
   13
         xxix.     chicagobackpage.com
   14
          xxx.     denverbackpage.com
   15
         xxxi.     newyorkbackpage.com
   16
        xxxii.     phoenixbackpage.com
   17
   18 xxxiii.      sandiegobackpage.com

   19 xxxiv.       seattlebackpage.com

   20   xxxv.      tampabackpage.com

   21                  b.        To the extent such property is not available for forfeiture, a sum of
   22    money equal to the total value of such property.
   23             2.   Pursuant to Title 21, United States Code, Section 853(p), as incorporated by
   24    Title 18, United States Code, Section 982(b), each defendant convicted under Counts 52
   25    through 93 of this Indictment shall forfeit substitute property, if, by any act or omission of
   26    that defendant, the property described in the preceding paragraph, or any portion thereof,
   27    cannot be located upon the exercise of due diligence; has been transferred, sold to, or
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    1   deposited with a third party; has been placed beyond the jurisdiction of the court; has been
    2   substantially diminished in value; or has been commingled with other property that cannot
    3   be divided without difficulty.
    4                                             A TRUE BILL
    5
    6                                             S/
                                                  FOREPERSON OF THE GRAND JURY
    7                                             Date: March 28, 2018

    8   ELIZABETH A. STRANGE
    9   First Assistant United States Attorney
        District of Arizona
   10   JOHN P. CRONAN
   11   Acting Assistant Attorney General
        Criminal Division, U.S. Department of Justice
   12
   13   S/
        KEVIN M. RAPP
   14   DOMINIC LANZA
        MARGARET PERLMETER
   15   JOHN J. KUCERA
        Assistant U.S. Attorneys
   16   REGINALD E. JONES
   17   Senior Trial Attorney
        U.S. Department of Justice, Criminal Division
   18   Child Exploitation and Obscenity Section

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